           Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 1 of 81 PageID #: 6




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                                                                                                     Transmittal Number: 19153057
Notice of Service of Process                                                                            Date Processed: 12/28/2018

Primary Contact:           Brad Pruitt
                           Equian
                           9390 Bunsen Parkway
                           Louisville, KY 40220

Electronic copy provided to:                   Daniel Gibson

Entity:                                       Equian, LLC
                                              Entity ID Number 3589901
Entity Served:                                Equian LLC
Title of Action:                              Lisa Coffey vs. Equian LLC
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 Jefferson County Circuit Court, KY
Case/Reference No:                            18-CI-007353
Jurisdiction Served:                          Kentucky
Date Served on CSC:                           12/27/2018
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Marilyn "Linsey" Shrewsbury
                                              502-366-6456

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                               EXHIBIT A
                    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 2 of 81 PageID #: 7

   AOC-E-105                      Sum Code: CI
   Rev. 9-14
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   Commonwealth of Kentucky                                                                                 court: CIRCUIT
   Court of Justice Courts.ky.gov                                                    GRrOFJVSS
                                                                                                            County: JEFFERSON Circuit
   CR 4.02; Cr Official Form 1                                              CIVIL SUMMONS


Plantiff, COFFEY, LISA VS. EQUTAN LLC, Defendant


       TO: CORPORATION SERVICE COMPANY
                   421 WEST MAIN STREET
                   FRANKFORT, KY 40601
Memo: Related party is EGlUTAN LLC


The Commonwealth of Kentucky to Defendant:
EQUTAN LLC

      You are hereby notified that a legal actiOn has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
On your behalf within twenty (20) dayS following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.



                                                                                 ~~ -3 Iv , eL k/""^
                                                                                  Jefferson Circuit Clerk
                                                                                  Date: 12/19/2018




                                                                            Proof of Service
      This Summons was:

❑ Served by delivering a true copy and the Complaint (or other initiating document)

           To

❑ Not Served because:


      Date:                                                 1 20
                                                                                                                Served By


                                                                                                                   Title

SummonslD:137402710025193@00000892613
CIRCUIT: 18-CI-007353 Certified Mail
COFFEY, LISA VS. EQUTAN LLC


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        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 3 of 81 PageID #: 8
Filed                   18-C1-007353 12/19/2018                 David L. Nicholson, Jefferson Circuit Clerk




                                     COMMONWEALTH OF KENTUCKY
                                       JEFFERSON CIRCUIT COURT '
                                          DIVISION
                                      CAUSE NUMBER
                                           . Electronically Filed

        LISA COFFEY                                                                           PLAINTIFF
        423 WISTERIA AVE
        LOUISVILLE, KY 40222


        V.                                      VERIFIED COMPLAINT

        EQUTAN LLC
        9390 BRUNSEN PARKWAY
        LOUISVILLE KENTUCKY 40220                                                             DEFENDANT


        Serve:
        CORPORATION SERVICE COMPANY
        421 WEST MAIN STREET
        FRANKFORT KENTUCKY 40601




                                                        ****~


                  Comes the Plaintiff, Lisa Coffey, (hereinafter "Ms. Coffey" or "Plaintiff'), and for her

        cause of action against the Defendant Equian LLC (hereinafter "Equian" or "Defendant") states

        as follows:

                                           JURISDICTION ANll VENUE



             1.           At all times relevant to this cause of action Plaintiff was a resident of Jefferson

                  County, Louisville Kentucky; was employed by Equian LLC as a Director of Benefits

                  Compensation & HR Shared Solutions and worked out of Equian LLC's Jefferson County

                  Kentucky office.

         1

Filed                    18-CI-407353 12/19/2018                David L. Nicholson, Jefferson Circuit Clerk

                                                     EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 4 of 81 PageID #: 9
Filed                     18-Ci-007353 12/19t2018               David L. Nicholson, Jefferson Circuit Cierk




            2.            T'he Defendant Equian LLC is Foreign Limited Liability Company who operates in

                 several physical locations across the United Statcs of America including, but not limited

                 to, Jefferson County Kentucky.

            3.            Ms. Coffey's causes of action are brought pursuant to the Kentucky Civil Rights

                 Act, KRS 344 et seq., and the common law of the Commonwealth of Keiitucky in addition

                 her damaged exceed the threshold requirement of five- thousand dollars ($5000.00)

                 therefore this court has proper jurisdiction over the matter.




                                           FACTUAL ALLEGATIONS

            4. On or around October 23, 2017 Ms. Coffey was offered and accepted employment with

                 Equian LLC ("Equian"), as the Director of Benefits, Compensation & I-IR Shared

                 Solutions.

            5. Ms. Coffey accepted the above listed position due to the promise of growth in her

                 position and autonomy in decision making as a dircctor.

            6. Ms. Coffey took her position at a pay cut from her previous place of employment and

                 from other potential employers.

            7. Throughout the course of her employment with Equian Ms. Coffey was subjected to a

                 severe and pervasive hostile working environment.

            8. Ms. Coffey realized almost immediately after her employment began with Equian that.

                 she was the subject and/or target of Connie Janowski ("Connie" or "Ms. Janowski"), who

                 was at the time another Human Resource Director employed by Equian, ridicule and

                 abuse.



        2
Filed                     18-CI-007353 12/19/2018               David L. Nichoison, Jefferson Circuit C1erk

                                                     EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 5 of 81 PageID #: 10
Filed                  18-Cl-007353 12119t2018                David L. Nicholson, Jefferson Circuit Clerk




             9. Ms. Janowski did in a pervasive and severe manner alter the terms and conditions of Ms.

                Coffey's job role and responsibilities by arbitrarily applying policies and or procedures

                not enforced or used against Ms. Coffey but not against other male employees and

                employees under the age of forty (40).                                                       ~
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             10.Ms. Janowski would specifically and publically admonish and humiliate Ms. Coffey for         a
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                                                                                                             0
                no actual reason.                                                                            0
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             11.Ms. Janowski would attempt to punish Ms. Coffey for exercising her judgment in her           Y
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                                                                                                             a
                position or gaining any positive recognition for her job performance.

             12. Ms. Janowski would report Ms. Coffey's day to day activities and or movements to other

                members of management without directive and in order to sabotage Ms. Coffey by

                painting a false light on Ms. Coffey's ability to perform her job role and or function.

             13. All of the above describes in part the day to day level of harassment and hostility Ms.

                Coffey felt working for Equian with Ms. Janowski.

             14.Despite the daily hostility Ms. Coffey was exposed too she worked very hard to complete

                the numerous tasks she was assigned to complete.

             15. Ms. Coffey came in early and stayed late on multiple occasions.

             16.Ms. Coffey worked weekends and holidays on multiple occasions.

             17. In February of 2018 Ms. Coffey received an employee performance evaluation, a copy of

                 which is attached hereto as Exhibit "1".

             18. This evaluation shows that in February of 2018 Ms. Coffey, who had been working for

                 Equian for a period of approximately four months, was performing well above average.




         3
Filed                   18-C1-£307353 1211912018               David L. Nicholson, Jefferson Circuit Clerk

                                                    EXHIBIT A
      Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 6 of 81 PageID #: 11
wmq                   18-CI-007353 12/19/2018                David L. Nicholsorn, Jefferson Gircuit Clerk




            19.From February to June of 2018, .while the daily pattern of hostility, arbitrary application

               of rules and intense scrutiny continued, no negative feedback was.given to Ms. Coffey

               related to her job performance.

            20. Ms. Coffey did not receive negative fecdback during that period of time because she was

               performing at an excellent level.

            21. From February to June of 2018 Ms. Coffey was assigned the most projects out of any

               other Human Resource Director employed by Equian.

            22. One such project was a massive undertaking of transferring ninety- million

                ($90,000,000.00) dollars into a new 401(k) plan for Equian and its Employees.

            23. On June 14, 2018 Ms. Coffey received an email from her supervisor TJ 'Fjelseth ("Mr.

                Fjelseth" or "TJ"), pi-ior to meeting with him for their weekly one-on- one.

            24. Attached to Mr. Fjelseth's email was a two page memo, a copy of which is attached

                hereto as Exhibit "2", and was an assault on Ms. Coffey's ability to perform her job.

            25. It was the next day, June 15, 2018, that Ms. Coffey met with Mr. Fjelseth and wanted to

                discuss the memo he sent the previous day.

            26. Based on the language used in the memo and the style of writing Ms. Coffey believes that

                it was not authored by her supervisor, TJ, but instead was authored by her tormenter

                Connie Janowski.

            27. Mr. Fjelseth ("TJ") stated the following during the course of the meeting which occurred

                between himself and Ms. Coffey on June 15, 2018:

                    a. TJ stated he was leaving the company the next day aiid wasn't going to go

                        through the memo. There was no reason to.




        4

Filed                  18-CI-007353 12/19/2018                David L. Nicholson, Jefferson Circuit Clerk

                                                    EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 7 of 81 PageID #: 12
Filed               18-Ci-007353 12/19/2018                    David L. Nicholson, Jefferson Circuit Clerk




                 b. TJ stated it didn't matter how much Ms. Coffey "touched" (meaning helped)

                    employees.

                 c. TJ discussed Prevention Cloud, a product used by Equian's Broker, and Ms.

                    Coffey told TJ how much time she was dedicating to fixing the department.

                 d. Both TJ and Ms. Coffey discussed the incredible amount of projects Ms. Coffey

                    had been assigned too, including but not limited to:

                        i. Moving a$90,000,000.00 401k from one vendor to another.

                        ii. Reviewing the Audit for the same

                       iii. Preparing to present to and train all applicable employees on the Paylocity

                            system, which was not being implemented, scheduled in August.

                       iv. TJ and Ms. Coffey discussed how prior to this meeting, Ms. Coffey

                            recently concluded the one objective she was told she must complete on

                            the day she was hired- the launching and implementing of the "Q"

                            artificial intelligence project.

                        v. Ms. Coffey and TJ discussed how after Ms. Coffey did successfully

                            launch and implement the Q projcct, TJ gave everyone else paid time off,

                            except Ms. Coffey and in fact TJ never even thanked Ms. Coffey for the

                            work she did on the project.

                        vi. . In response to the above assertion TJ stated that he did not reward Ms.

                            Coffey for her work because she did it all herself.

                       vii. Ms. Coffey responded by stating that she was forced to do the work

                            herself because no one elsc would.




         5
Filed                18-CI-007353 12/1912018                   David L. Nicholson, Jefferson Circuit Clerk

                                                 EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 8 of 81 PageID #: 13
Filed                  18-CI-007353 12119J2018               David L. Nichotson, Jefferson Circuit Clerk




                         viii. TJ told Ms. Coffey that he "spoke with her peers" regarding her ability to

                                 work with a team and ended the conversation.

             28. Ms. Coffey, devastated, humiliated and emotionally drained decided to reach out to the

                peers mentioned by TJ in the above relayed conversation specifically Arlene and Marietta    CV
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                Thompson to inquire as to what they perceived the issue to be with Ms. Coffey.              0
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             29. Both Arlene and Marietta made it clear that TJ never spoke with them, nor did they make    a
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                complaints to anyone in management related to Ms. Coffey or her ability to perform her      ~
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                                                                                                            a
                job functions.

             30. Both Arlene and Marietta believe Ms. Coffey to be an incredibly skilled and excellent

                worker and resource to Equian.

             31. On the same afternoon, June 15, 2018 Ms. Coffey went to speak with Daniel Gibson,

                 CCO in order to make a complaint about the treatment she was receiving, the

                 conversation she had with TJ, and her fears that her harasser, Connie Janowski, was

                 attempting to push Ms. Coffey out of her position.

             32. During this meeting Mr. Gibson instructed Ms. Coffey to go talk to Connie Janowski

                 ("Ms. Janowski") about her complaints.

             33. Ms. Cof£ey refused to do so and re-asserted that Connie was the problem.

             34. Mr. Gibson then advised Ms. Coffey to go and speak with Shankar Narayanan, COO.

             35. Ms. Coffey emailed Mr. Narayanan the same afternoon, a copy of which is attached

                 hereto as Exhibit "3" and asked to spealc with him.

             36. Mr. Narayanan forwarded the email to Jeff Martin CFO and told Ms. Coffey Mr. Martin

                 would be handling HR matters, Ms. Coffey then exchanged emails with Mr. Martin and

                 forwarded him TJ's "Memo". (See Exhibit "4")



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 Filed                  18-C1=007353 12l19J2018               David L. Nicholson, Jefferson Circuit Clerk

                                                    EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 9 of 81 PageID #: 14
Filed                  18 -C I-00 7353 12/ 19J2018           David L. Nicholson, Jefferson Circuit Clerk




             37. Jeff and Ms. Coffey met on June 19, 2018.

             38. Ms. Coffey informed Mr. Martin of the harassment she was receiving at the hands of

                Connie Janowski while Ms. Coffey was juggling more projects than any other HR

                Director.                                                                                   co
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             39. Ms. Coffey recalls the conversation between herself and Mr. Martin as consisting of the    0
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                following:                                                                                  0
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                                                                                                            ~
                                                                                                            M
                    a. Ms. Coffey explained to Mr. Martin that she was fixing a huge problem with           ~
                                                                                                            a

                        Insurance overbilling: Specifically, Anthem was not reconciled for over a year

                        and there was roughly $100,000 in overpayments made to Anthem. Trover

                        associates were still under Trover and they were on Equian. COBRA recipients

                        who were not paying were still covered and should not have been. Ms. Coffey         ~


                        worked with Anthem to have accounts fixed and refunded.

                    b. Ms. Coffey explained to Mr. Martin that she was fixing a huge issue with

                        Prevention Cloud, as mentioned above, in actively working to fix and manage the

                        program.

                    c. Ms. Coffey told Mr. Martin how she completed a hold harmless agreement and

                        moved the Health Spending agreements to Business Solver so Equian would not

                        continue having issues with accounts being closed and money kicked back as

                        Roughly 100 employees ongoing had not accepted the terms and agreements and

                        their accounts had been closed prematurely.

                1. d. Ms. Coffey told Mr. Martin about the 401k testing issues and how she was going

                         line by line through the audit.




         7



 Filed                  18-CI-007353 12/19l2018               David L. Nicholson, Jefferson Circuit Clerk

                                                     EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 10 of 81 PageID #: 15
                        18-CI-007353 12119I2018                 David L. Plicholson, Jefferson Circuit Clerk




                     e. Ms. Coffey told Mr. Martin about how she was moving the 401k to One America

                         and handling all the paperwork, building the website and working on ensuring the

                         data from the Standard was going to come over clean. There was no feed and Ms.

                         Coffey and her team were doing everything manually in addition to pulling the

                         newest company Omni Claim on benefits and conducting open enrollment with

                         the, bringing them on 401k and payroll for September 1, 2018.

                     f. Ms. Coffey told Mr. Martin how she was responsible for the "Fitness on the

                         Floor" initiatives in Louisville and Southfield

              40. The conversation concluded with Ms. Coffey telling Mr. Martin how she felt singled out,

                 mistreated, isolated, and misused by Ms. Janowski.

              41. Mr. Martin asked Ms. Coffey if she wanted to work at Equian.

              42. Ms. Coffey told Mr. Martin that she did want to work at Equian and then proceeded to

                 ask Mr. Martin if she could report to him directly.

              43. Mr. Martin told Ms. Coffey that it would not be possible for her to report to him directly

                 but that she had nothing to worry about that the write up- or memo presented to her by TJ

                 meant nothing and could not be used against her.

              44. Mr. Martin said that the write up "did not exist".

              45. The Following timeline was created by Ms. Coffey starting in June of 2018 when Connie

                  Janowski became significantly more abusive, severe and hostile toward Ms. Coffey, a

                  copy of the entire journal or recollection is attached hereto as Exhibit "5":

                      a. "June 8th, Connie sends an email to several of us and discusses onboarding plans.

                         Connie is not our manager — the assumption is Connie will be the interim

                         manager." [after TJ leaves].



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Filed                    18-CI-007353 12/18l2018                 David L. hliaholson, Jefferson Circuit Cierk

                                                      EXHIBIT A
     Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 11 of 81 PageID #: 16
F'iied            18-CI-007353 12/19/2018                David L. Nicholson, Jefferson Circuit Clerk




              b. "Several HR Directors are upset by this and we do not want to report to her.

                  Connie has her favorites. Several Directors feel we should send a singed letter to

                  Scott Mingee, CEO, and tell him this or drive up there."

              c. "On June lst, Connie sent me an email about getting a birthday card for Nancy

                  Moody, part time fitness trainer. I was in NY. I had reached out to Liz and Liz

                  had a card. When I returned to Louisville, I had muffins/fruit and gave Nancy a

                  card with a$25 gift card. I sent an email to Louisville saying come tiy for a

                  belated birthday" a copy of the email is attached hereto as Exhibit "6"

               d. "June 25th — Connie emails me asking where the onboarding plan is for Celeste. I

                  tell her she said anyone in May and she replied she wants one anyway. This is

                  exactly what I told Jeff Martin what would happen. I go ahead and do it." A copy

                  of the email is attached as Exhibit "7"

               e. "On June 28t11, I sent an email stating I would be working from home. At the

                  beginning of the week there was an F 1 tornado that hit and took down a tree at my

                  home and I needed to have the tree removed and my hvac unit fxed. Connie

                  replied within 3 minutes asking who was going to handle my walk in traffic since

                   my 2 employees were out. This comment made no sense since I have 171ocations

                   cross the US plus remote employees. I replied Travis White, Ashley and Marietta

                   were aware. Connie emailed Marietta Thompson, HR Director, on the side

                   Marietta and asked if it was ok that I took the day off to deal with personal

                   problems. This was completely inappropriate and unprofessional for her to email

                   a peer. No one else is expected to have a back up and I had access to email and

                   phone." Copies of the emails are attached collectively as Exhibit "8" (Also



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 Filed            18-CI-007353 12/19/2018                Davic! L. Nichoison, Jefferson Circuit Clerk

                                               EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 12 of 81 PageID #: 17
Filed           18-CI-007353 12/19/2018               David L. Nicholsan, Jefferson Circuit Clerk




                 included in Exhibit S is the message sent to Jeff Martin by Ms: Coffey in which

                 she forwards Ms. Janowski's email to Mr. Martin and complains about the

                 treatment she is receiving).

             f"On June 29`h, I return to work and we are slammed with emails about Prevention

                 Cloud. F,mployees are very upset. Celeste is out of town and I have to do payroll.

                 Michael an employee comes in and talks about his medical bills. This is about the

                 4th or 5`h time he has come to the office. Then, I called Jen Mattingly and we

                 talked for a while regarding prevention cloud and waiving the coaching calls. I

                 received an email from Connie at 953 am saying I was rude and short with

                 associates. I emailed Connie back and asked how I was rude and she never

                 replied. She would not tell me how or who I was rude to. She did not reply, I         ;
                 sent the email to Jeff Martin because I just couldn't take it anymore. I am

                 completely exhausted at this point. He tells me to work it out with her." A copy

                 of the email is attached hereto as Exhibit "9".

              g. "On July 2°d I requested PTO. Connie repYied "I want to ensure you have a fully

                 prepared back up this time please. Who else is out those dates? Are we doing

                 anything for Woburn on those dates? This to me means that I didn't prove proper

                 coverage last time. I was getting pretty frustrated and again I felt picked [on]. I   :,

                 didn't go as I was afraid I would get terminated. She said it is probably best I

                 didn't go." Copies of the emails are attached hereto as Exhibit "10".

              h. "July 9`!' Liz Fulton receives a complaint from Brianne Clark, black female, from

                 Southfield. The complaint was about a write-up she signed and felt she shouldn't

                  have. She was complaining about her Supervisor (Maria Cooke) and her HR



        10

Filed            18-CI-007353 12/19/2018                David L. Nicholson, Jefferson Circuit Cterk

                                                EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 13 of 81 PageID #: 18
Filed           18-CI-007353 12119/201$                David L. Rlicholson, Jefferson Circuit Clerk




                Manager (Daniel Smith). Liz came to me and asked what to do. I told her that

                 she should take this to Connie as Daniel reports to her and she should

                 investigate."

             i. "July 13'h, I received a call from Brianne and she said no one had contacted her. I

                 apologized and told her Connie was in meetings all week but Liz brought the

                 concern to her. I assured her Connie would follow up. I email Connie on July 15Ih

                 and told her Brianne called. Later during the week, I saw Connie outside and

                 asked if she followed up with her. Connie said she took care of it, she went on to

                 say how employees say things about HR, etc. I said r understood."

             j. "Connie has an offsite meeting, with all managers and directors on July 17Ih, 18In,

                 19"'. At the meeting, Connie brings up working from home and says we as a

                 company should be more flexible. I am completely taken back because of how

                 she treated me after the tomado hit my property. I assume she is talking about

                 another department but not Human Resources. During the meeting, Travis White

                 and Daniel Smith share how she sent them birthday presents and how they have

                 never worked for such a great boss. She is treating them different than the rest of

                 the team. They both get descriptive on the presents she has purchased. She

                 shipped Daniel a present to his home.                                                 c.

              k. "The rest of the HR team can't understand why we are doing this exercise when

                 she is an interm boss, we are all busy and we know about the cost reductions."

              l. "July 20th, the day after the retreat I'ravis tells me how he will be working from

                 home on Fridays. He said that Daniel was cool with it and they agreed he could




        11
Filed            18-CI-007353 12/19J2018               David L. Nicholson, Jefferson Circuit Clerk

                                             EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 14 of 81 PageID #: 19
Filed            1$-CI-007353 12t19/2018                David L. Nicholson, Jefferson Circuit Clerk




                 do it. I said it must be nice because you see when I work from home how I am

                 treated. I am refencing the email Connie sent about the "walk-ins"."

              m. "July 201", I asked Carrie for her advice on how to handle the compliance testing ..

                 refunds. Carrie replies there is no need for us to discuss and provides step by step

                 email advice on how to handle. Connie sends an inappropriate note about how to

                 do this and do it correctly. Completely uncalled for especially with a peer.

              n. "July 20`h is Liz's birthday and I get an email at 630 am from Connie if I did

                 anything for Liz's birthday. I respond yes, I did purchase a card, muffins and

                  fruit. Connie comes to our 10 am meeting late. I am on the phone with One

                  America. Connie storms off and says she is busy. I email her and state I have a

                  card for Liz's birthday, can she sign it and I will walk over to her building. She

                  replies it would have been nice had I had it at the meetirigs that week. She never

                  signs the card so I give it to Liz at the end of the day. She did not purchase any

                  gift for Liz, decorate or make cupcakes.

              o. "July 26`", I received a call from Brianne. I called her back at 612 pm and we

                  spoke for 21 minutes. Brianne went on to tell me that no one had contacted her

                  and Dan was trying to talk to her about it. She said she told him I am not talking
                                      ,
                  to you about this as she has a concern with him. He said to come to her office and

                  he wanted to talk to her about something else. She went to the office and he

                  brought up the situation and she walked out. She said Connie has never contacted

                  her and Dan was following up on her complaint about him. She went 'into further

                  details about Maria Cooke stating the employees had ghettoness. I was

                  completely shocked. I told her she could call Jeff Martin (Connie's boss), Tony



        12

Filed            18-CI-607353 12/19l2018                David L. Nicholson, Je#ferson Circuit Clerk

                                              EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 15 of 81 PageID #: 20
Filed                  18-Ci-007353 12/1912018               Davic! L. Nicholson, Jefferson Circuit Clerk




                       Kern (local vp) or she should call the Ethics Hotline. The next day I went to work

                       and spoke to Marictta Thompson, HR Director, and I explained the situation. She

                       said she should go to the hotline so they could do a proper investigation. I

                       reached out back to Brianne and told her to go to contact the hotline."

                    p. "Brianne sent Liz an email on July 29' about our conversation."

                    q. August 15Ih I spoke with Brianne and she told me no one has contacted her. She

                       said Maria Cooke was contacted because she heard Maria talking to someone and

                       she could figure out what they were talking about and it was the situation. My

                       understanding is the ethics hotline gave Connie the investigation. Connie

                       basically failed to investigate, allowed her employee to investigate himself and

                       then when the concern went to the hotline she investigated it herself. The hotline

                        didn't realize the complaint now included Connie.



             46. Travis White, is an HR Manager who has little to no experience yet along with Daniel

                Smith, a newly promoted HR Director is given preferential treatment by Ms. Janowski as

                outlined above in Ms. Coffey's recollection of events which unfolded June through

                August of 2018. See Exhibit "11" posts from social media showing the close relationship

                between Ms. Janowski and Mr. White.

             47. On or around August 7, 2018 all of the directors including Ms. Coffey were made aware

                of the. fact that their department needed to cut costs in order to meet monetary goals.

             48. The directors brainstoirned ideas on how to accomplish this.

             49. After TJ Fjelseth left his position and Ivls. Janowski was named "interim CHRO" no

                 more collaborative conversations were held regarding the budget crisis.



        13
Filed                   18-CI-007353 12/19/2018               David L. Nicholson, Jefferson Circuit Clerk

                                                    EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 16 of 81 PageID #: 21
Filed                      18-CI-007353 12J19/2018            L3avid L. Nicholson, Jefferson Circuit Clerk




             50. Ms. Janowski used the budget crisis as an opportunity to devise and carry out a plan to

                get rid of, via termination, female employees over the age of 40.

             51. In fact, Ms. Coffey was at the top of Ms. Janowski's chopping block.

             52. In fact, Travis White, a male under the age of forty (40), was told by Ms. Janowski, at         ;
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                least one full week in advance of the action, that Ms. Coffey would be terminated.               o
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             53. Mr. White was told Ms. Coffey was going to be terminated due to her "poor                       g
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                performance".                                                                                    Y

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             54. Mr. White then told all of Ms. Coffey's associates, who informed her that she was going

                to be terminated for her "poor performance".

             55. Prior to having knowledge of her impending termination, on or around August 12, 2018,

                Ms. Coffey filed a complaint of discrimination related to age and gender, and hostile

                 work environment to the EEOC. See Exhibit "12" EEOC right to sue letter.

             56. When Ms. Coffey was terminated, on August 16, 2018, in front of Mr. White it was done

                 so under the pre-tense of a"reduction in force and that her position was being

                 eliminated", Ms. Coffey received her letter of termination the following day on August

                 17, 2018. See F.,xhibit "13".

             57. Ms. Coffey is over the age of forty and a female.

             58. All of the individuals who were subject the pre-textual "reduction in force" operation

                 carried out by Connie Janowski were females over the age of forty (40).                     ^

             59. All of the individuals who were subject to the pre-textual "reduction in force" operation

                 carried out by Connie Janowski had more training and experience than the individuals not        N
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                 subject to the same "reduction in force".                                                       01
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Filed                      18-CI-007353 12119/2018             David L. Nicholson, Jefferson Circuit Clerk

                                                     EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 17 of 81 PageID #: 22
Filed                     18-Ci-007353 12/19/2018               David L. Nicholson, Jeffers
                                                                                          son Circuit Clerk




             60. Daniel Smith and Travis White were not subject to the reduction in force and are still

                employed at Equian.

             61. Ms. Coffey was subjected to emotional damage, embarrassment and humiliation regularly

                at the hands of Connie Janowski, and a former Equian Employee TJ Fjelseth.

             62. Ms. Coffey was treated differently to her detriment than other male employees and

                employees under the age of 40.

             63. Ms. Coffey has suffered and will continue to suffer lost wages, mental anguish, pain and

                 humiliation damages.

                     FIRST CAUSE OF ACTION : DISCRIMINATION BASED ON AGE

             64.. That Plaintiff hereby incoiporates each and every allegation contained in paragraphs 1

                 through 63 above, as if fully set forth with particulai7ty herein;

             65. That KRS 344.040(1)(a) provides, in relevant part, "[i]t is an unlawful employment

                 practice for an employer ... to fail or refuse to hire, or to discharge any individual, or

                 otherwise to discriminate against an individual with respect to compensation, terms,

                 conditions, or privileges of employment, because of the individual's ...age forty (40) or

                 over."   (Emphasis added);

             66. That to demonstrate a prima facie case of discrimination on the basis of age, Plaintiff

                 must show she: (1) was a member of a protected class; (2) suffered an adverse

                 employment action; (3) was qualified for the position; and (4) received disparate

                 treatment from a similarly situated younger person. Flock v. Brown-Formun Corp., 344
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                 S.W.3d 111, 114 (Ky. Ct. App. 2010);                                                         co
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Filed               . 18-CI-007353 12/19/2018                   David L. Nicholson, Jefferson Circuit Clerk

                                                      EXHIBIT A
     Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 18 of 81 PageID #: 23
IR:~':J                   1$-Cl-007353 12119t2018                 David L. Plicholson, Jefferson Circuit Clerk




               67. That Plaintiff, currently; and during the time at issue in this case, is over the age of 40,

                   and thus, her discharge, by Defendant Equian LLC, was at least in part, because she is

                   over the age of forty (40), in violation of KRS 344.040;

               68. That Plairitiff, having shown she was treated differently because she is over the age of

                   forty (40), has suffered, and will continue to suffer, monetary losses in the form of lost

                   wages, humiliation, embarrassment, mortification of feelings, and any and all fringe

                   benefits accrued to Plaintiff during her employment with Defendant Equian LLC is a

                   member of a protected class for the purposes of KRS 344.040;

               SECOND CAUSE OF ACTION: DISCRIMINATION ON THE BASIS OF SEX/

                   GENDER


               69. The Plaintiff hereby incorporates herein each and every allegation of paragraphs 1 through

                   68 above, as if fully set forth with particularity herein.

               70. The action by the Defendant Equian LLC and its agents Connie Janowski, Travis White,

                   Daniel Smith among others is discriminatory under KRS 344.040, which specifically

                   prohibits discrimination of any kind against an individual because of their sex or gender

               71. Ms. Coffey is a female and thus a member of a class protected by KRS 344.040,

               72. That Ms. Coffey was treated differently, to her detriment and has suffered damages because

                   of her gender.

               73. Defendant Equian LLC through the acts of its agents committed an unlawful practice of

                   discrimination against an individual because of such individual's sex/gender, under KRS §

                   344.040.

               74. Wherefore, the Plaintiff, Ms. Coffey having shown that she was subjected to adverse



          16
Filed                     18-CI-007353 12/191201$                 David L. Nicholson, ,lefferson Circuit Clerk

                                                        EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 19 of 81 PageID #: 24
Fited                   18-Cl-007353 12119/2018                  David L. Nicholson, Jefferson Circuit Glerk




                employment actions up unto and after her termination because of her gender , has suffered,

                and will continue to suffer, mone~ary losses based on humiliation, embarrassment,

                mortification of feelings, and loss of income, health insurance, as well as loss of pension

                benefits, and all benefits accrued by the Plaintiff during her time working for Equian LLC.

                         THIRD CAUSE OF ACTION: HOSTILE WORK ENVIRONMENT



             75. That Plaintiff hereby incorporates herein each and every allegation of paragraphs 1

                through 74 as if fully set forth with particularity herein;

             76. That Plaintiff is a woman over the age of 40 and therefore, a member of a protected class;

             77. That Plaintiff was subject to a daily pattern of unwelcome harassment, intimidation, and

                assaults perpetrated by the Defendant Equian LLC and its agents.

             78. That the unwelcome harassment was based on Plaintiff's gender and age and perpetuated

                when Plaintiff reported the activities of Connie Janowski as illegal to other members of

                Equian's management team who took no steps to resolve Plaintiff's complaints.

             79. That the unwelcome harassment was based on Plaintiff engaging in activity protected

                under KRS 344.

             80.That the Plaintiff complained and repoi-ted the harassment she was forced to endure to her

                supervisor and to the individual she was told would be managing the HR department, Jeff

                Martin, to her detriment, as no actions were ever taken to correct or even investigate

                 hostile work environment that Plaintiff had been forced to endure.

                            FOURTH CAUSE OF ACTION: RETALIATION: KRS 344.280

             81. Plaintiff hereby incorporates each and every allegation contained in paragraphs 1 through

                 80 as if fully set forth with particularity herein;



        17


Filed                   18-C1-007353 1211912018                  David L. Nicholson, Jefferson Circuit Cierk

                                                      EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 20 of 81 PageID #: 25
Fiied                   18-CI-007353 12/1912018                Ciavid L. Nichoison, Jefferson Circuit Clerk




             82. That KRS 344.280(1) makes it an unlawful employment practice "for a person, or for two

                (2) or more persons to conspire: To retaliate or discriminate in any manner against a

                person because he has opposed a practice declared unlawful by this chapter, or because

                he has made a charge, filed a complaint, testified, assisted, or participated in any manner

                in any investigation, proceeding, or hearing under this chapter;"

             83. That Plaintiff was and did'engaged in protected activity first in making complaints to her

                supervisors and managers and then in making a complaint to the Equal Employment

                Opportunity Commission for age and gender related discrimination;

             84. That the exercise of Plaintiff's civil rights was known by Defendant Equian LLC.

             85. That Plaintiff did report the discrimination that she was subjected to and that no action

                was taken to investigate those complaints.
                                                                                                              F~;i
             86. That, thereafter the Defendant did take further employment action adverse to Plaintiff up

                 into and including termination;

             87. That there is a causal connection between the protected activity and the adverse

                 employment action.

             88. That Plaintiff, having shown a pr-ima facie case of retaliation, has suffered, and will

                 continue to suffer, monetary losses based on humiliation, embarrassment, mortification of

                 feelings, and loss of income, and all benefits accrued by the Plaintiff during her

                 employment with the Defendant

             89. That the actions taken by the Defendant were due to Plaintiff's age and gender and are in

                 violation of KRS 344, and establish a prima facie case of age and sex discrimination.

             90. That Plaintiff, having shown that she was treated differently because of her age, and sex,

                 to her detriment, has suffered, and will continue to suffer, monetary losses based on



        18
Filed                                                          David L. Nicholson, Jefferson Circuit Cierk

                                                     EXHIBIT A
   Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 21 of 81 PageID #: 26
                       18-C9-007353 12f19/2018                 David L. Nicholson, Jefferson Circuit Clerk




                humiliation, embarrassment, mortification of feelings, and loss of income, and all

                benefits accrued by the Plaintiff during her employment with Defendant Equian LLC.

                                                 PRAYER FOR RELIEF

             91. The Plaintiff hereby incorporates herein each and every allegation of paragraphs 1- 90          N
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                above as willfully set forth with pailicularity herein.                                          a
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             92. WHEREFORE, Ms. Coffey, prays that this Court:                                                   a
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             93. Declare Equian LLC's conduct in violation of Ms. Coffey's rights;                               cc
                                                                                                                 a
             94. Award Ms. Coffey compensatory damages in such amounts as shall be proved at trial for

                her economic and other losses;

             95. Award Ms. Coffey damages in an amount to be proved at trial for the humiliation,

                 embarrassment, personal indignity, apprehension about her future, emotional distress, and

                 mental anguish, which the Defendant Equian LLC has caused.

             96. Award Ms. Coffey punitive damages against Equian LLC for the serious intentional

                 wrongs they committed against her, alleged herein above;

             97. Award Ms. Coffey costs, interest, and attorneys' fees pursuant to KRS 344; and

             98. Grant her such further relief as this Court may deem just and proper.

                                                JURY DEMAND

                 Plaintiff, Ms. Coffey, demands a jury to try all issues triable by jury.




                                                                Respectfully Submitted,



                                                                /s/ Marilyn "Liiisey" Shrewsbury
                                                                Marilyn "Linsey" Shrewsbury



        19

Filed                   18-CI-007353 12119/2018                 David L. hlicholson, Jefferson Circuit Clerk .

                                                     EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 22 of 81 PageID #: 27
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                                                 Samuel G. Hayward
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                                                 Louisville, KY 40213
                                                 (502) 366-6456
                                                 linsey@samhaywardlaw.com
                                                 Coarnsel for Plaintiff                        N
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Filed           18-C1-007353 12119t2018          David L. Nicholson, Jefferson Circuit Clerk

                                          EXHIBIT A
   Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 23 of 81 PageID #: 28
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                                                VERIFICATION

                T, Lisa Coffey, hereby certify the above statements to be true and correct, to the best of
        my ability.

                Executed in Jefferson County, Kentucky, this _tl '     day c




        COMMONWEALTH OF KENTUCKY )
                                                       )SCT.
        COUNTY OF JEFFERSON                            )


                Sworn, subscribed to and acknowledged before me, a Notary Public, within and for the
                                                                                                                                              :
        Comtnonwealth of Kentucicy at large, by Linsey Shrewsbury, this Lt day of                             ,
        2018.


                My Commission Expires:

                Notary ID:    S qs iLI CA       v


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                                                                        OTARY PUBLIC
                                                                       STATE AT LARGE
                                                                                                                                              '7




Filed                 18-Ci-007353 12/19/2018                  aavid L..Niciloison, Jefferson Circuit Clerk

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    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 24 of 81 PageID #: 29
Filed           18-CI-007353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk




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Filed           18-Cf-007353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk

                                          EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 25 of 81 PageID #: 30
Filed                       18-CI-007353 12/19/2018                             David L. Nicholson, Jefferson Circuit Clerk



 2017,Annual Supervisory Evaluation
 Employee Name
 Lisa Coffey                                                                   Reviewer
                                                                               Fjelseth, Thomas
 Positlon
Director, Benefits, Comp, and HR Shared Services                               Supervisor
                                                                               Fjelseth, Thomas
Hire Date
 10/23/2017                                                                    Review Date

                                                                                                                                                             00
 Company Name                                                                                                                                                CD

Equian LLC (37926)

                                                                                                                                                             U)

 Review items
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 Summary evaluatlon of skills and strengths in the following categories
                                                                                                                                                             X

 Leatilership Customer Focus
 Acts as a role model of Equian's best customer service behaviors, demonstrates proactive action In anticipation of customer needs, considers
 customer perspective In making key decisions.

 Comments from Employee
 3 - Solid Performer
 I feel I am working very hard to ensure we are providing outstanding customer servlce to our customer. I would say I am golng above and beyond wlth
 benefits. I do need to provider more services with respect to compensation and utilize payfactors. I have to get a task force together to start working
 on job descriptlons and compensation structures.

 Conirvients from Reviewer
 4 - Excellent Performer
 In Lisa's short tenure she has demonstrated a strong orientation toward service excellence. Lisa joined the organization during Open Enrollment for
 2018 benefits. She was immediately engaged In learning about our benefit offering, arranging travel to other locations, participating in OE
 presentations, providlng assistance to employees, etc... Because of the many challenges that Equlan has experienced in recent years with vendor
 issues, and Internal administrative errors, there has been much for Lisa to investigate and to correct. Lisa Is also coaching her team members to
 understand the difference between answering a question and truly serving Equian's employees.                                                                w
                                                                                                                                                             z


 LeadershJp Innovation
 Fosters environment where innovative Ideas are encouraged, tested, recognlzed and rewarded. Acts as an agent for change, promoting and leading              0
 change across organizational boundaries. Acts as role model for Inventiveness and creativity, responsive decision maker when faced with ambiguity.
                                                                                                                                                              ci
 Comments from Employee
 2 - Approaching Expelctations
 I am trying to make sure my team is working smarter and encouraging them to take on more. I am not where I need to be and hoping the review
 process wlil allow me to set expectations. It appears I am doing more of the hands on then they are. They are not elevating to the level I expect. I need
 to be more clear with them on what I expect. I also need to understand better what Liz and Greg do. I may be failing them by having certain                  0-
 expectations and not knowing what obstacles they have. As for Mictiele, Nancy and Tia, I think we have been moving along very well In ttiose areas.
 My entire team needs to brush up on computers skills.

 Comments frortt Reviewer
 3 - Solid Performer
 Lisa has shown a strong orientation to improve process, streamline procedures, and to address root causes. Lisa has not yet had sufficlent time to
 truly Innovate however, 2018 wlll provide many opportunitles, beginning with the Socrates project.

                                                                                                                                                              O
 Leadership People Focus
 Provides constructive, timely coaching and feedback, consistently develops opportunitles for team members to stretch and develop. Actively listens to        4   6
 others, ensures clear understanding. Fosters positive MGrale and engagement through leading by example, team recognition and reward, and                     in
                                                                                                                                                              N
 communlcates In concise, compelling and collaborative manner.

  Comments from Employee
 3 - Solid Performer
                                                                                                                                          Page 1 of 3             m



 Filed                         18-CI-007353         12/19/2018                     David L. Nicholson, Jefferson Circuit Clerk

                                                                    EXHIBIT A
     Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 26 of 81 PageID #: 31
m[~:J                       18-Cl-007353 12/1912018                               David L. Nicholson, Jefferson Circuit Clerk

  I am trying very hard to make sure my feam understands that I would never ask them to do something I would not do. This goes back to me doing a
  lot of the hands on that they should aiso be helping with.l do think in the area of fitness I have team members engaged. On the benefits side with
  Greg and Liz I feel I am struggling a bit on getting them to engage. I am trying very hard to ensure I recognize them by saying thank you anc good jnb.
  I am sure I could do better in this area. As for the company associates, I feel that HR Is moving forward and providing outstanding service. I have
  heard a lot of compliments about our department. I have tried to stress with my group the importance of the internai client and that we are
  managing a business within a business.

  C.omments from Revlewer
 3 - Solld Performer
  Lisa Is addressing performance and knowledge issues in her team. Most importantly, Lisa Is holding her team accountable to provide excellent service
  to Equian employees. Lisa's team members have experienced multiple changes in supervisors during the past year. Now that they have an
  opportunity to stabilize under the same leader and to develop a team Identity their performance and collaboration should Improve.


  Leadership Results focus
  Demonstrates persistence and discipline even in the face of obstacles. Empowers others to achieve success. Ensures team members have the
  resources needed to achieve objectives. Engages team members in setting strategy/goais. Demonstrates accountability for personal and team
  commitments, Including errors and misses.

  Comments from Empioyee
  2 - Approaching Expectations
  There have been a number of obstacles this year with open enrollment, payroll and benefits. I do feel 1 have been down in the weeds a bit too much
  and I do not have a solld strategy put together.l am behind on payfactors and I need to get the job descriptlon and pay grades started.

  Comments from Reviewer
  4 - Excellent Performer
  Lisa has been "in the weeds" but only out of necessity. she continues to dig into process and data Issues and Identify root causes. I fuliy expect that
  we have put the last of our problematic benefit enroliment issues behind us and can look forward to smoother sailing in the future. Lisa will have
  several big initlatives to deliver this year, inciuding Socrates, so it will be a great opportunity for her to demonstrate her results focus.


  Leadership Functional Excellence
  Considered an expert in their fteid and sought out for expertise. Defines and drives strategic objectives for their area(s) of responsibility. Participates
  In the accomplishment of work as needed to achieve goais and Inspire team commitment. Demonstrates a strong focus on self improvement through
  feedback and continuous learning. Stays abreast of tndustry developments, company business operations, and market changes,

  Comments from Employee
  2 - Approaching Expectations
  This is difficult. While 1 understand industry developments/changes It is difficult because I am stili learning the "Equian Way". I do feel I am a change
  agent for the company and there is nothing we can't do. I am not sure sometimes what exactly I am supposed to be doing. I have been focused on
  benefits and payroll so much that I feel other dutles are beign put aside.

  Comments from Reviewer
  3 - SoHd Performer
  Lisa has a very solid base of knowledge in human resources, benefit adminlstration, payroll, etc... Through Llsa's involvement, we've seen an
  immediate Improvement in the precision of administrative oversight over these functions. I am confident that because of Lisa, l wiil be able to devote
  substantially less time to benefits oversight during 2018 which Is of tremendous importance.



   Appraisal

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 Filed                        18-t✓1-007353 12/19/2018                              David L. Nicholson, Jefferson Circuit Clerk

                                                                     EXHIBIT A
          Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 27 of 81 PageID #: 32
                                                          12/1912018                           David L. Nicholson, Jefferson Circuit Clerk
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      Review Items
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     Leadershlp Customer Focus              3 - Solid Performer                4 - Excellent
                                                                               Performer                                             .   . ....
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     Leaders 1p lnnovatlon                  2-
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 Review Status

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 Electronic Signature - Incomplete




                                               Lisa Coffey



 Reviewer Review Status                                                         Comments
 Pending - 12/1812017
 Electronlc Signature - Incomplete




                                           Thomas Fjelseth




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                                                                                                    David L. Nicholson, Jefferson Circuit ClOrk
      Filed                               18-CI-007353 12/19/2018

                                                                                     EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 28 of 81 PageID #: 33
Filed           18-CI-007353 12119/2018          David L. Nicholson, Jefferson Circuit Clerk




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Filed           18-CI-007353 12/1912018         David L. Nicholson, Jefferson Circuit Clerk

                                          EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 29 of 81 PageID #: 34
Filed                   18-Ci-007353 12/19/2018                 David L. Nicholson, Jeffersor► Circuit Clerk




        Mid-Term Performance Feedback Summary for Lisa Coffey

        lune 11, 2018

        Date of hire = October 23, 2017
        Position = Director of Benefits, Compensation, and HR Shared Services
        Tirne in position = Seven months                                                                              N
        Overall performance = Below expectations                                                                      o
                                                                                                                      0
                                                                                                                      0
                                                                                                                      w
        Initiai observations:                                                                                         0
        Lisa Coffey joined the company during an especially busy period for Equian. Final preparations for open       o
        enrollment were underway with a new benefit enrollment system administrator (in place for six                 d
        months). In addition to learning her new role, getting acquainted with a new team of direct reports, and      Y
        getting familiar with a.new organization, it was important for Lisa to devote a great deal of time to issue   a
        resolution, enrollment reconciliations, etc... These issues were due to previous, ongoing issues with
        benefit enrollment administration. With Lisa's involvement, many chronic issues were successfully
        resolved and initial impressions for her future success were positive.

        Recent and ongoing observations:
        After completing Open Enrollment and by the end of the first quarter of 2018, Lisa needed to be familiar
        with her team and the Equian Qrganization. Lisa also needed to be fully acclimated to HR's systems. At
        that time, Lisa's focus needed to elevate so she could create a longer-term view of Equian's benefit and
        weliness strategy, optimal use of HR systems, and preparations toward compensation programs. Areas            o
                                                                                                                      M
        of improvement needed include;                                                                                ~
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        Benefit strategy and communication: Lisa must develop a comprehensive and holistic document that              ~
        describes the Equian employee benefits that will be offered in 2019 and 2020, and how empioyee                W
        wellness will evolve. Along with that information Equian cost trending, and empioyee cost sharing             Q
        changes must be described. Lisa's tendency has been to isolate her attention to specific issues, such as      m
        the wellness administration vendor, rather than maintaining a broader focus on more important matters         o
        like how the various bene€it programs fit together to form a comprehensive and competitive offering for       =
        employees. E-mails to Equian empioyees have often been too repetitive, too frequent, and less than            ~
        polished/professional. New employee benefits orientation is also in need of significant improvement in        ~
        quality of content and method of presentation.                                                                _
                                                                                                                      ~
                                                                                                                      d
        Action needed: Develop a discussion document that details a two-year strategy and execution plan for          a
        Equian employee benefits and wellness. Review the draft with the other HR Directors for feedback, and
        then present the final document to the Equian Executive Leadership Team no later than August 1, 2018
        with assistance from new EVP of Human Resources. Develop and implement an improved approach for
        new-employee benefit orientation and enrollment by the end of September, 2018. Finaily, Lisa must
        demonstrate a proactive approach and project management for the integration of benefits for the
         Woburn staff.
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         401(k) administration: As the Director of Benefits, Lisa must demonstrate stronger expertise in 401(k)       g
         reguiatory requirements, audit procedures, reconciliation methods, reporting, and employee                   "6
                                                                                                                      Of
         communications. Each of these areas is lacking and need improvement. With the migration of Equian's          o
         401(k) plan from Standard to One America, Lisa will need to inform the 401(k) Steering Committee of          o
         progress and must not make decisions of significance without the committee's input.                          m
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Filed                    18-C#-007353     12/19/2018             David L. Nicholson, Jefferson Circuit Glerk

                                                       EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 30 of 81 PageID #: 35
Filed                  18-CI-007353 1211912018                   David L. Nicholson, Jefferson Circuit Clerk




         Action needed: Complete the 2017 audit and compliance testing of the Equian 401(k) plan, any required
         adjustments/reconciliations, and communication to affected employees, and finally provide a report to
         the 401(k) Steering Committee. Provide ongoing updates to the Steering Committee regarding
         migration to One America.

         Collaboration: As an HR Director, Lisa needs to demonstrate proactive communication with her peers,           N
                                                                                                                       co
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         particularly the , HR Business Partners and the Corporate Controller. Lisa's tendency is to work              0
                                                                                                                       0
                                                                                                                       4
         independently of her peers and to disregard their input. One example is in the Job Description project        0
         where Lisa disregarded peer input regarding how the information would be gathered, organized, and             O
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         managed electronically.                                                                                       O
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         Action needed: Demonstrate proactive communication/collaboration with HR Directors and                        Y
                                                                                                                       U
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         demonstrate cooperation in the use of their input/recommendations.                                            CL


         HR systerns: Lisa's role is intended to provide leadership of the HR technology strategy. In this capacity,
         L'isa must demonstrate expertise with HR's systems, particularly the Paylocity system. Lisa must partner
         with Finance to lead the discussion about how to optimize the configuration of Paylocity for data
         collection, reporting, and analytics. Although Paylocity has offered to bring an expert resource on site to
         assist the Equian team members in a review of system configuration, lisa has not followed through on
         scheduling, planning, or communication of that event.

         Action needed: Lisa must demonstrate a solid knowledge of Paylocity's capabilities, and configuration
         requirements. She must engage the Paylocity team with Equian HR and Payroll for an on-site review and
         system adjustments toward optimized use of the system, and improved reporting/analytics capabilities.

         Staff devetopment: Lisa has four direct reports, including one team member who is new to Equian. It is
         not apparent that her newest team member has a development plan or is receiving frequent, helpful
         coaching. One of Equian's leader competencies — People, requires the following behaviors:
             •   Provides constructive, timely coaching and feedback to others
             •   Consistently creates opportunities for team members to stretch and develop themselves
             •   Actively listens to what others are saying, probes for information to ensure clarity and .
                 understanding
             •   Fosters positive morale and engagement by recognizing and rewarding team efforts and results
             •   Communicates in a concise, compelling, and coliaborative manner

         Action needed: First and foremost, Lisa must demonstrate that each team member, particularly her
         newest associate, has an individual development plan and receives frequent coaching, recognition, and
         encouragement.




 Filed                   18-CI-007353 1211912018                   David L. Nicholson, Jefferson Circuit Clerk

                                                       EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 31 of 81 PageID #: 36
Filed           18-CI-007353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk




        EXHIBIT     663")




Filed           18-CI-007353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk

                                          EXHIBIT A
     Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 32 of 81 PageID #: 37
Filed                  18-CI-007353 12f1912018                   David L. Nicholson, JefPerson Circuit Clerk
> Lisa
>                                                                                                                    ,
> Sent from my iPhone
>
» On Jun 16, 2018, at 7:14 AM, Shankar Narayanan <snarayanan@eguian.com> wrote:
»
» Lisa
» Thanks for your note
» This coming week I am traveling to Dubfin Ireland for client meetings
» and have a packed week In the interim state Jeff is heiping provide                                                      N
                                                                                                                           co
                                                                                                                           0
» executive support to the Benefits area Jeff may possibiy be in                                                           g
                                                                                                                           a
» Louisviile this coming week and I would encourage you to catch up                                                        0
» with him Thanks Shankar                                                                                                  N
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»                                                                                                                          n
»                                                                                                                          0
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                                                                                                                           ~
» Sent from my iPhone                                                                                                      ~
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                                                                                                                           t4
»                                                                                                                          a
»> On Jun 15, 2018, at 7:49 PM, Lisa Coffey <LCoffey@equian.com> wrote:
»>
»> Shankar
»>
»> I Hope this note finds you are doing well. I wanted to see if we could meet next week. This is in regards to the
meeting I had yesterday with T1. ! am not sure if he discussed with you my current performance or what he is saying my
poor performance. ! am very upset and disappointed with the conversation we had and feel I need to speak to you. lf
 possible, I would like to meet face to face. ! know you are extremely busy and I would not ask if I did not feel it was   ~
 important. I have not gone to Connie and 1 will not go to Connie.
 »>

»> Thank you,
»> .
»> Lisa Coffey
 »>
 »>
 »>
 »>
 »>
 »> Sent from my iPhone
 >
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Filed                 18-C1-007353 12/19/2018                   2David L. Nicho6son, Jefferson Circuit Clerk
                                                      EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 33 of 81 PageID #: 38
Filed           18-C1-007353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk




        EXHIBIT "41'




Filed           18-CI-007353 12/1912018          David L. Nicholson, Jefferson Circuit Clerk

                                          EXHIBIT A
       Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 34 of 81 PageID #: 39
 Filed                     18-CI-007353 12/19/2018                 David L. Nicholson, Jeft'erson Circuit Clerk


lisa Eoffe-y

From:                                Lisa Coffey
Sent:                               _M.onday,lune 18, 2018 5:43°PM
To:                                ' leff Martin
Subject:                              Fwd: Document for today's discussion
Attachments:                         image001 jpg; ATTOOOOl:htm; image002.png; ATT00002.htm; Performance Feedback
                                     Summary for Lisa Coffey 1une2018.pdf; ATT00003.htm


Jeff


This is what I received Thursday from T1.

Lisa

Sent from my iPhone

Begin forwarded message:

         From: TJ Fjelseth <TFielseth@eguian.com>
         Date:lune 14, 2018 at 9:37:05 AM EDT
         To: Lisa Coffey <LCoffey@eguian.com>
         Cc: T1 Fjelseth <TFielseth@eguian.com>
         Subject: Document for today's discussion

         Good morning, Lisa. I've attached a document that we will discuss later today during our one-to-one. 1
         want you to have some time to review and digest the information before our conversation. I would
         normally have this type of discussion with you in person but I am just not able to be in Louisville before I
           leave Equian.

           A few things for you to keep In mind while you review this document:
               1. The purpose of this document and our discussion is for you to have the opportunity to adjust
                   your priorities and efPorts now, rather than waiting uritil the end of the year only to be surprised
                   at performance appraisal time.
               2. My observations and this feedback have come together since eariy this year—this is not about
                   recent developments, and it is not limited to rny own observations.
               3. This feedback is not about a lack of effort on your part — I believe that you invest a lot of energy
                  and good intentions in your work. That said, you are not performing in a successful manner in
                  several important aspects of your position. This feedback is about how you apply judgment to
                  make decisions, about how you set your priorities, and an overall lack of a strategic approach.
               4. My hope is that you will be able to use this feedback and the recommended actions to create a
                   path for your own success.




Filed                      18-CI-007353 12/19/2018               1 David L. Nicholson, Jefferson Circuit Clerk
                                                        EXHIBIT A
         Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 35 of 81 PageID #: 40
Filed                    18-Cf-007353 12119t2018               David L. Nicholson, Jefferson Circuit Clerk


Lisa Coffey

From:                              Lisa Coffey
Sent:                              Monday, June 18, 2018 5:29 PM
To:                                Jeff Martin
Subject:                           Re: Meeting


Perfect. Thank you.
                                                                   I
Sent from my iPhone

> On 1un 18, 2018, at 5:15 PM, Jeff Martin <LmartinPequian.com> wrote:
>
> Yes, I wiii be down there tomorrow. Lets pian around 10:00. 1 have an office in the Accounting area, so you can stop
down around then.
>
> -----Originai Message-----
> From: Lisa Coffey [mailto:LCofFey@eguian.coml
> Sent: Monday, June 18, 2018 5:12 PM
> To: JefP Martin <imartin@eguian.com>
> Subject: RE: Meeting
>
> Jeff
>
> I wanted to touch base with you in regards to tomorrow. Piease (et me know what works.
>
> Thank you,
>
> Lisa Coffey
>
> -----Origina) Message-----
> From: Jeff Martin frnaiito:imartin@eguian.coml
> Sent: Saturday, June 16, 2018 8:50 AM
> To: Lisa Coffey; Shankar Narayanan
> Subject: RE: Meeting
>
> Lisa, I'II reach out to you on Monday to set a time once I know my schedule. it wiil iikeiy be Tuesday morning
sometime, but I'Il let you know.
>
> Jeff
>
> -----Originai Message-----
> From: Lisa Coffey fmallto:LCoffey@ectuian.coml
> Sent: Saturday, June 16, 2018 7:26 AM
> To: Shankar Narayanan <snaravanan@eguian.com>
> Cc: Jeff Martin <imartin@eauian.com>
> Subject: Re: Meeting
 >
 > I wiil do that. Safe travelsl
 >


                           18-CI-007353 1211912018           1 David L. Nicholson, Jefferson Circuit Clerk
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                                                     EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 36 of 81 PageID #: 41
Filed           18-C1-007353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk




        EXHIBIT 4`5"




Filed           18-CI-407353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk

                                          EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 37 of 81 PageID #: 42
Filed                 18-CI-007353 1211912018                  David L. Nicholsan, Jefferson Circuit Clerk

                                                           ~             }                               ~
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                                                                                                <<   ,
        October 23`d, start with Equian.

        February 9th, performance review above average 3.4. *Attached
        June 14t'', I received an email from Tj Fjelseth, EVP/CHRO, labeled performance feedback summary. TJ
        and I were scheduled for a one on one later in the day and he attached a two-page document stating my
        overall performance was unacceptable. *Attached
                                                                                                                     N

        lune 151'', T1 and I have a conversation about my performance. TJ will not review the information line by
                                                                                                                     co
                                                                                                                     g
        fine and he states the following:                                                                            o
                                                                                                                     ti
                                                                                                                     M
                •   TJ stated he was leaving the company the next day and wasn't going to go through the             ~
                    memo. There was no reason to.                                                                    d
                                                                                                                     ~
                •   TJ stated it didn't matter how much i"touched" (meaning helped) employees it was what I          ~
                    brought up to the executive table in August. This was the first time I was informed I needed     a
                    to present a benefits presentation in August.
                0   We discussed Prevention Cloud and I told him how much time was spent fixing the
                    department. He said I needed to have a wellness program to present to leadership team in
                    August and I needed to be ready. I told him Celeste and I were demoing them because the
                    broker never set anything up. (Prevention Cloud is a product of Crystai & Company our
                    broker). * Witnesses are Celeste Doll, Michele Brumleve and Nancy Moody can support
                    this comment.                                                                                    N
                •   i also was moving a 90M 401k from one vendor to another.                                         M
                •   i was going through the audit for the 401k.                                                      ~
                •   Payiocity training was schedule for August.                                                      Q
                •   We discussed Celeste being new and he said I could have hired a temporary and i failed to        0
                    use my resources. 1 told him my focus was to hire someone and not hire, train, hire and          ui
                                                                                                                     Z
                    retrain.                                                                                         rr
                                                                                                                     a
                •   We discuss "Q" the artificial Intelligence project I spearheaded and successfuily                z
                    implemented. I said "you didn't even say thank you to me" and you rewarded everyone but          °
                                                                                                                     x
                    me with time off with pay. He said it was because I didn't utilize the team and I did the        o,
                                                                                                                     a
                    work. I did the work because the others did not follow up. *Witness Rebecca Orman                ~
                •   T1 said to talk to my peers. i spoke to Arlene about the job description project and she said    ~=
                    he never asked iier for her input. Marietta said she never spoke to TJ.                          d
                •   The conversation was basically going in circles. ! told him I feit Connie had something to do    a
                    with this write up and 1 could not report to her with this document. I felt she is the one who
                     crafted it.

        June 15th, I speak to Danny Gibson, CCO, and I explain the discussion I had wtth TJ and he advises me to
        go to Connie. i teli him she is the problem and he advices going to Shankar. I had confided in the past
        to Danny about how many issues there were that we were fixing.                                               N
                                                                                                                     Go
                                                                                                                     G
        June 15th, I email Shankar Narayanan, COO, and asked if I could meet with him. He forwarded my email         o
        to JefP Martin, CFO, and said Jeff would be managing HR. I sent Jeff the disciplinary letter so he would     a~
         know what I wanted to talk about. *Attached                                                                  o
                                                                                                                      0
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                                                                                                                      ~m
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Filed                  18-Ci-007353 1211912018                  David L. Nicholson, Jefferson Circuit Clerk

                                                    EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 38 of 81 PageID #: 43
Filed                  18-CI-007353 12/19/2018                   David L. Nichoison, .lefferson Circuit Clerk




        June 15" Connie sends out an email about team building and a two-day retreat. We need to purchase a
        book, read it and complete a personaiity assessment. AII managers and directors will be present
        leff and I met on June 19th, we discussed the situation. I informed him what I have done for the
        company and the disaster I inherited. Ceieste was there almost 60 days and liz was taking on additional
        responsibilities. Here were some of the items:

                •                                                                                                     N
                     Anthem was not reconciied for over a year and there was roughiy $100,000 in                      co
                                                                                                                      C
                                                                                                                      O
                     overpayments made to Anthem. Trover associates were stili under Trover and they were on          O
                                                                                                                      O

                     Equian. COBRA recipients who were not paying were still covered and should not have              0
                                                                                                                      co
                                                                                                                      M
                     been. I worked with Anthem to have accounts fixed and refunded. *Connie was responsibte          O
                                                                                                                      O
                                                                                                                      O
                     for Anthem.                                                                                      dm
                •    Prevention Cloud was an issue and I was doing my best with the program. I moved the              Y
                                                                                                                       ~
                                                                                                                       V
                     tobacco affidavit to Business Solver so I would not need Prevention Cioud. Our deadiine to       a~
                     complete weliness was June 301 h. I gave Prevention cioud 60 days-notice and termed them
                     July 31". Cost savings $38,000 for 2018. Jeff stated "we probabiy pissed off more peopie
                     than we did good" and I concurred.
                •    Toid Jeff 1 moved the tobacco affidavit to Business Solver so 1 would not need Prevention
                     Cioud for this function.
                •    Toid Jeff I compieted a hoid harmiess agreement and moved the Health Spending
                     agreements to Business Solver so we would not continue having issues with accounts being
                     ciosed and money kicked back. Roughly 100 empioyees ongoing not accepting the terms
                     and agreements and accounts being closed. Empioyees lose the money.
                • 1 told Jeff about the 401k testing issues and I was going through the audit.
                • 1 was moving the 401k to One America and handiing all the paperwork, building the website
                  and working on ensuring the data from the Standard was going to come over clean. There
                  was no feed and we were doing thing manuaiiy. I do not think Jeff knew we were moving
                  vendors.
                • Also, pulling our newest company Omni Ciaim on benefits and conducting open enroiiment
                  with the,, bringing them on 401k and payroil September V.
                •    Fitness on the floor — Louisvitle and Southfield
                •    I stated i fuliy implemented "4" artificiai inteliigence and had to continue to maintain it. I
                     did not think we should have purchased it. Our company was too small. I told him about the
                     comment that T1 made about not even thanking me. TJ did a testimoniai for Socrates
                     before we even implemented or launched it.
                •    Discussed me having a two-year weliness program presentation and he said not to worry
                     about a 2 year presentation and to focus on 2019.
                •    Discussed whether I work well with others and we discussed that Carrie and I had some past
                     issues but i thought we were working them out. Things were getting better with me having
                     Ceieste on board.
                 •   On Friday, June 151h Connie sale for an onboarding plans for ali new hires hired May or iater
                     they were due June 22"d. I told him she will come back and ask me for Celeste's onboarding
                     plan and Celeste was hired in April. I was just using this example as proof that she would
                     come back for a pianner. We both agreed it was a waste of time as Celeste had aimost was
                     there for aimost two months and was doing a great job.


Fiied                  18-Ct-007353 12/19/2018                   David L. Nichoison, Jefferson Circuit Clerk

                                                      EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 39 of 81 PageID #: 44
Filed                  18-Ci-007353 12/1912018                  David L. Nicholson, Jefferson Circuit Clerk

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                 v   Jeff asked me if I wanted to be at Equian and i toid him I loved the company and I couid see
                     the positive changes we were making but I couldn't work for her. I asked if I couid report to
                     him and he said he couidn't do that.
                 •   Jeff said as far as he is concerned the write up meant nothing and it did not exist. The
                     document was never signed by me and/or piaced in my fiie.
                                                                                                                     N

        Connie                                                                                                       a
                                                                                                                     "
                                                                                                                     0
                                                                                .                                    0
                                                                                                                     o
        June 8u', Connie sends an email to several of us and discusses onboarding pians. Connie is not our           o
        manager — the assumption is Connie wifi be the interim manager.                                              o
                                                                                                                     0
                                                                                                                     0
        Severai HR Directors are upset by this and we do not want to report to her. Connie has her favorites.        ~
        Severai Directors feei we shouid send a singed ietter to Scott Mingee, CEO, and teii him this or drive up    m
        there.                                                                                                       °'

        On June 111, Connie sent me an email about getting a birthday card for Nancy Moody, part time fitness
        trainer. I was in NY. I had reached out to Liz and Liz had a card. When I returned to louisvilie, I had I
        had muffins/fruit and gave Nancy a card with a$25 gift card. i sent an emaii to louisvifie saying come by
        for a beiated birthday *email attached

        June 25t'' — Connie emaiis me asking where the onboarding pian is for Celeste. I teli her she said anyone
        in May and she repiied she wants one anyway. This is exactiy what I toid JefF Martin what wouid
        happen. I go ahead and do it. *Email irttached & onboarding.

        On June 2e, I sent an emaii stating i wouid be working from home. At the beginning of the week there
        was an F1 tornado that hit and took down a tree i needed to have removed and my hvac unit was out.
        Connie repiied within 3 minutes asking who was going to handie my waik in traffic since my 2 empioyees
        were out. This comment makes no sense since I have 17 locations cross the US pius remote emptoyees.
        I repiied Travis White, Ashley and Marietta were aware. Connie emaiied Marietta Thompson, HR
        Director, on the side Marietta and asked if it was ok. This is compieteiy inappropriate and
        unprofessionai for her to emait a peer. No one eise is expected to have a back up and I had access to
        email and phone.      *Both emaits attached

        On June 29'', I return to work and we are siammed with emaiis about Prevention Cloud. Empioyees are
        very upset. Cefeste is out of town and I have to do payroll. Michael an empioyee comes in and taiks
        about his medicai biiis. This is about the 4th or 5t" time he has come to the office. Then, I caifed Jen
        Mattingly and we taiked for a whiie prevention cioud and waiving the coaching calls. I received an emaii
        from Connie at 953 am saying i was rude and short with associates. I emaifed Connie back and asked
        how I was rude and she never repiied. She wouid not teii me how or who I was rude to. She did not rpiy
        I sent the email to Jeff Martin because I just couidn't take it anymore. I am compieteiy exhausted at this
         point. He tells me to work It out with her. *email attached
                                                                                                                     N
                                                                                                                     ~

        On lufy 2nd I requested PTO. Connie repiied "t want to ensure you have a fuiiy prepared back up this         g
        time ptease. Who eise is out those dates? Are we doing anything for Woburn on those dates? This to           0
        me means that I didn't prove proper coverage last time. I was getting pretty frustrated and again I feit     o
        picked. I didn't go as I was afraid I wouid get terminated. She said it is probabiy best i didn't go.        o
        *Emails attached                                                                                             d
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Filed                  18-Ci-007353 12/19/2018                   David L. Nicholson, Jefferson Circuit Cterk

                                                      EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 40 of 81 PageID #: 45
Fi1ed                 18-Ci-407353 1211912018                   David L. Nichoison, Jefferson Circuit Cierk



        There are numerous emails going back and forth on weliness programs. Meeting in May we informed
        Crystai what we needed and they did not bring any companies to the tabie. Celeste and I start doing our
        own RFP. In June, Connie tells me to come 'up with a list of what i need. I know what i need but i want
        to see demonstrations in case.there are newer program. Connie forwards me and email with a white
        paper and tells me to read it. I continue to work with Celeste and tell Crystal what I need. Connie sends
        an email out with our vendor stating to give them a must have list and the articie she sent me shouid be
        suffice to create a list. This is embarrassing as she Is belittling me to our broker. This is the same as how
        she emailed all my peers about the day I worked from home. *emalis attached

        Connie asks my opinion about a tuition reimbursement policy. I answer and she goes back and forth and
        ask me if i read the poiicy. She treats me iike i am stupid. *email attached.

        Around July 2°d Connie sends an email to everyone saying she is going to decorate Travis' office to
        surprise him. She comes to work on the 411 of July holiday and decorates Travis' office to an extreme.
        Connie comes to work on the Sth and hides in his office to video him. Everyone is talking about how
        crazy this is and he doesn't directly report to him. She emails everyone that she made homemade
        cupcakes. She apparently videos it but doesn't distribute the video. She didn't do anything iike this for
        Nancy — this is clear favoritism. They are friends outside of work.
        Connie has an offsite meeting, with ali managers and directors on luly 17t", 18ts,19`s At the meeting,
        Connie brings up working frorn home and says we as a company shouid be more flexible. I am
                                                                                                                         ~r
        completely taken back because of how she treated me with the tornado: I assume she is talking about
        another department but not Human Resources. During the meeting, Travis 1Nhite and Daniel Smith
        share how she sent them birthday presents and how they have never worked for such a great boss.
        They are clearly friends and she is treating them different than the rest of the team. They both get
        descriptive on the presents she has purchased. She shipped Daniel a present to his home.
        The rest of the HR team can't understand why we are doing this exercise when she is an interm boss, we
        are all busy and we know about the cost reductions.

        Juiy 20th, the day after the retreat Travis tells me how he wiil be working from home on FridaysHe said
        that Daniei was cooi with it and they agreed he could do it, i said it must be nice because you see when
        I work from home how I am treated. The email she sent about the "waik-ins". Travis works from home.
        Juiy 20'h, I asked Carrie for her advice on how to handle the compiiance testing refunds. Carrie replies
        there is no need for us to discuss and provides step by step email advice on how to handle. Connie
        sends an inappropriate note about how to do this and do it correctly. Completeiy uncalied for especialiy
        with a peer. *emall attached.
        July 20t'' is !_iz's birthday and I get an emaii at 630 am from Connie if I did anything for Liz's birthday. i
        respond yes, I did purchase a card, muffins and fruit. Connie comes to our 10 am meeting late. I am on
        the phone with One America. Connie storms off and says she Is busy. i emaii her and state I have a
        card for Liz's birthday, can she sign it and i wiil waik over to her building. She replies it wouid have been
        nice had i had it at the meetings that week. She never signs the card so i give it to Liz at the end of the
        day. She did not purchase any gift for Liz, decorate or make cupcakes. *emall attached




Fiied                  18-Ci-007353 12/1912018                   David L. Nichoison, Jeffierson Circuit Clerk

                                                      EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 41 of 81 PageID #: 46
Filed                 18-CI-007353 12/19l2018                  David L. Nicholson, Jefferson Circuit Clerk




        I asked Daniel to obtain information from past insurance brokers. This was the same as how I handied
        with Juiia. Connie continued to tell me to obtain the information myself because Daniel had no idea
        what I was talking about. I spoke to the broker and he went on to tell me how Daniel was the most
        incompetent HR Manager he ever worked with. The broker went ahead and gave me the information.
        Connie was mad that I wouldn't do the work for him *Email attached
        Working on 401k conversion and find out Scott Mingee does not even know we are moving the 401k.
        Travis White informs associates that I am going be RIF'ed due to my poor performance. This was the
        week before I am iet go. Holly, Fawn and Joanna can confirm this.

        Travis and Connie are friends outside of work — Facebook supports this.

        Travis is the only HR Manager and lulia and Jeanneta are generalist. Travis makes $11k more.
        I was a Director prior to Joanne Bean being hired and Daniel Smith being promoted. Travis White have
        less experience than me.

        Mariette Thompson, black female, was the most senior director and was let go. Connie discriminated
        against both of us.

        Attorney sent a letter trying to negotiate. Danny Gibson replies that i was terminated for performance.
        In my termination, she said it was riot performance and/or seniority it was the position being
        eliminated. I asked why someone with less experience?



        Connie and investigation with Danie) Smith

        July 9th Liz Fulton receives a complaint from Brianne Clark, black female, from Southfield. The complaint
        was about a write-up she signed and felt she shouldn't' have. She was complaining about her Supervisor
        (Maria Cooke) and her HR Manager (Daniel Smith). Liz came to me and asked what to do. I told her that
        she should take this to Connie as Daniel reports to her and she should investigate.
        July 13th- I received a call from Brianne and she said no one had contacted her. I apologized and told her
        Connie was in meetings all week but Liz brought the concern to her. I assured her Connie would follow
        up. I email Connie on luly 151 ' and toid her Brianne calied. *emaii attached

        Later during the week, I saw Connie outside and asked if she followed up with her. Connie said she took
        care of it, she went on to say how employees say things about HR, etc. i said I understood.
        July 26t'', I received a cail from Brianne. I called her back at 612 pm and we spoke for 21 minutes.
        Brianne went on to tell me that no one had contacted her and Dan was trying to talk to her about it.
        She said she told him I am not talking to you about this as she has a concern with him. He said to come
        to her office and he wanted to talk to her about something else. She went to the office and he brought
         up the situation and she walked out. She said Connie has never contacted her and Dan was foliowing up
        on her complaint about him.

        She went into further details about Maria Cooke stating the employees had ghettoness. I was
        completely shocked. I told her she could call 1efP Martin (Connie's boss), Tony Kern (local vp) or she




Filed                 18-CI-007353 12119/2018                  David L. Nicholson, Jefferson Circuit Clerk
                                                     EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 42 of 81 PageID #: 47
                        18-CI-007353 12/1912018                   David L. Nicholson, Jefferson Circuit Clerk
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           should caii the Ethics Hotline. The next day 1 went to work and spoke to Marietta Thompson, HR
           Director, and I expiained the situation. She said she shouid go to the hotline so they could do a proper
           investigation. I reached out back to Brianne and toid her to go to contact the hotline. Brianne had sent
           Liz an emaii on July 291about our conversation.

           I spoke to Brianne on August 15t" and she said no one has contacted her. She said Maria Cooke was
           contacted because she heard Maria taiking to someone and she couid figure out what they were taiking
           about and it was the situation. My understanding is the ethics hotiine gave Connie the investigation.
           Connie basicaiiy faiied to investigate, aliowed her empioyee to investigate himseif and then when the
           concern went to the hotline she investigated it herseif. The hotiine didn't realize the compiaint now
           inciuded Connie.

           August 71, Connie telis team via conference cail about the budget and reductions in force. She says she
           wiil meet with each department heads week but she doesn't. I start to figure out that it is me. Also,
           department leaders are foiiowing up on items iike crazy to see where i am at with items —401k, audit,
           etc.

           August 13t', I have 401k auditors there for the week and Payiocity training in Louisvilie for two days.

           August 15'h, I submit an expense report and she denies it. She says I didn't get preapprovai. I repiy ok
           who do I send it to. She repiies that she is disappointed in me. She is stili harassing me the night before
           she knows she is going to RIF me. *Emaii attached
           Witnesses: Joanna Ernst, Liz Fuiton, Ceieste Doii, Travis White, Rhonda Orman, Kathleen Smith
           (standard), Jeff Martin, Danny Gibson,




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    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 43 of 81 PageID #: 48
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Filed           18-C4-007353 12/1912018           David L. Nicholson, Jefferson Circuit Clerk

                                           EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 44 of 81 PageID #: 49
 Filed                 18-CI-007353 12/19/2018                                       David L. Nicholson, Jefferson Circuit Clerk


Lisa Coffey

From:                              Lisa Coffey
                                                                      • ::.. ; :;........
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                                      . . . . . . ,:::..:.•
Sent:                           ~•~Tu s                          ~          `~~1          M
To:                                Connie Janowski
Subject:                           RE: Reminder


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Connie                                                                                                                             co
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Thank you — Liz took care of this — I dropped the ball — my morning was all changed around Friday and I left early to head          0
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to N Y.                                                                                                                            v
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Lisa                                                                                                                               m
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                                                                                                                                   tl.
From: Connie Janowski
Sent: Friday, June 01, 2018 2:47 PM
To: Lisa Coffey
Subject: Reminder

Nancy's birthday is next week while you are out, so you may want to start a card around

Connie Janowski, SPHR-SHRP-SCP/ HR Director, Corporate Services
9400 Bunsen Parkway / Louisville KY 40220
P. 502.214.5151
F. 800.424.6492.
equian.com




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         Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 45 of 81 PageID #: 50
 Filed                 18-Ct-007353 12/19/201$                  Clavid L. Nicholson, Jefferson Circuit Clerk


Lisa Coffey

From:                            Lisa Coffey
Sent:                            Thursd.ay, June 07,'2018'9:37 AM
To:                               eleste Doll; Ash!ey Geary; Liz Fulton; Nancy Moody; Connie lanowski; Marietta W.
                                 Thompson; Joanna Ernst; Greg Tripure; Travis White
Subject:                         Treats


Happy Birthday Nancy! We have some coffee cake and fruit (of course) in the HR office to ce!ebratel

Sorry E missed your big day!




Q is here! Access your Digital Persona) Assistant 24/7/365 for HR, Benefits and Payroll questions.
Lisa M. Coffey, Director, Benefits, Compensation & HR Shared So!utions
9390 Bunsen Parkway, Louisville, KY 40220
Work: 502.214.1533 / Fax: 800.424.6492
eauian.com
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    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 46 of 81 PageID #: 51
Filed           18-CI-007353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk




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Filed           18-CI-007353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk

                                          EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 47 of 81 PageID #: 52
Fiied                   18-CI-047353 12/19/2018                  David L. Nicholson, Jefferson Circuit Clerk



Lisa Coffe

From:                              Connie Janowski
Sent:                              Tuesday,.June. 26, 201810:10 AM
To:                                Lisa Coffey
Cc:                                Connie Janowski
Subject:                           Reply ASAP



Please respond to her before noon and copy me

Connie Janowski, SPHR
HR Director, Corporate Services
(502) 819-1755 cell
(502) 214-5151 office

Sent from my iPhone

Begin forwarded message:

          From: Jennifer Mattingly <imattinely@equian.com>
          Date:lune 26, 2018 at 10:02:40 AM EDT
          To: Connie lanowski <CJanowski@eguian.com>
          Subject: FW: physician physical forms for insurance

          Hi Connie,

          I have not heard back from Lisa and I need to get a response back as soon as possible.

          Thank you so so much!

          Also, pfease let me know when you have a minute to chat. I have an HR question for you.

          Thanks?


                                                                                                                a


           Jennifer Mattingly J C-Suite Executive Assistant
           5975 Castle Creek Parkway, Suite 100, Indianapolis, IN 46250
           P. 317.806.2002 / Mobile 317.439.8163
           F. 317.806.2103
           eguian.com




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                                                      EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 48 of 81 PageID #: 53
Filed                  18-CI-007353 12/19/2018                  David L. Nichoison, Jefferson Circuit Clerk



                                                                       .. .. . . ... . .. . . . ....   ... . . . . . . . . . .. . .   .. ....... .
          From: Jennifer Mattingly
          Sent: Monday,lune 25, 2018 3:66.;PM
          To: Connie lanowski <Clanowski@ecfuian.com >
          Subject: RE: physician physical forms for insurance

          Thank you .... much appreciated.
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          Jennifer Mattingty / C-Suite Executive Assistant                                                                                           ~
          5975 Castle Creek Parkway, Suite 100, Indianapolis, IN 46250                                                                               Y
          P. 317.806.2002 / Mobile 317.439.8163                                                                                                      ~
          F. 317.806.2103                                                                                                                            a
          eguian.com




          From: Connie lanowski fmailto:Clanowski@eguian.com~
          Sent: Monday, June 25, 2018 2;54:PM...
          To:lennifer Mattingly <{mattingly@eguian.com>
          Subject: RE: physician physical forms for insurance

          I have forwarded this to Lisa who handles all of the Weliness issues, and the rate increases.


          From: Jennifer Mattingly [rnailfio:jmattingly@equian.com]
          Sent: Monday, June 25, 2018,11:36 AM.:;;.::.;
          To: Connie Janowski
          Cc: Scott Mingee; Shankar fVarayanan
          Subject: physician physical forms for insurance
          Importance: High

          Hi Connie,

           I need to get an extension for Scott and Shankar on their physical forms that are supposed to be                                            ~
          finalized by the end of the month. They have both been traveling constantly and it's not possible to get                                     o
           these completed by then.                                                                                                                    o
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           Please let me know.                                                                                                                         o
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          Thank you,                                                                                                                                   ~
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        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 49 of 81 PageID #: 54
Filed                  18-CI-007353 12/1912018                David L. Nicholson, Jefferson Circuit Clerk


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              ,)     £QUTAN
          Jennifer Mattingly / C-Suite Executive Assistant
          5975 Castle Creek Parkway, Suite 100, Indianapolis, IN 46250
          P. 317.806.2002 / Mobile 317,439.8163
          F. 317-806,2103
          eauian.com




                         18-CI-007353 12119/2018            3 David L. Nicholson, Jefferson Circuit Clerk
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                                                     EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 50 of 81 PageID #: 55
Filed                   18-CI-007353 12/19/2018                    Ctavid L. Nicholson, Jefferson Circuit C►erk


Lisa Coff oy

Fr~om:                                Lisa Coffey
Sent:                           .,rttiMonday, June 25; 2018 5:26 Pfv1>t;,:
To:                             ''"' Lisa coffey (Icoffeyjames@att.net)
Subject:                              FW: On boarding pians




From: Connie Janowski
Sent: Monday, June 25, 2018 11:56 AM
To: Lisa Coffey
Subject: RE: On boarding plans

I'd reaiiy iike Ashiey to have one because we wiii be reiying on her so heaviiy and she has a iot to iearn. I'd iike to make
sure she has a comprehensive pian. I thought she was hired in May, but shouid have checked, sorry.

From: Lisa Coffey
Sent: Monday, June 25, 2018 11:50 AM
To: Connie Janowski
Subject: RE: On boarding pians
                                                                                                                               ~1*
Connie

Your email said anyone hired in May. I did not prepare one because you said May.

Lisa


From: Connie Janowski
Sent: Monday, June 25, 2018 11:49 AM
To: Kristin Paine; Lisa CofPey; Marietta W. Thompson; Myrna Deigado
Cc: Daniei Smith; Travis White; Arlene Satterwhite; Joanne Bean; Heather D. Martin
Subject: RE: On boarding pians

Just a reminder that I'm waiting on these for any new hires or peopie new to roies.
If you are in the CC fine, you are done, thanksi Piease reach out to Dan or Arlene if you'd liice to pick their brains about     .11
what worked for their pians.
Joanne, I am working on yours. Here are the new hires that need pians:

Celeste        Doll                04/30/2018
Joanne         Bean                05/14/2018
Ashley         Geary               05/29/2018
Holly          Bartlett-Connor     06/04/2018
Fawn           Collins             06/11/2018
Jeanetta       Taylor              06/11/2018
Alyssa         Walther             04/30/2018




                          18-Ct-007353 12/19/2018                 1 David L. Nicholson, Jefferson Circuit Clerk
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                                                         EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 51 of 81 PageID #: 56
lim                  18-C1-007353 12119J2018                  David L. Nichoison, Jefferson Circuit Cierk

 From: Connie Janowski                                                                                          -
Sent: Friday, June 15, 2018 9:26 AM
To: Ariene Satterwhite; Connie ]anowski; Daniel Smith; Heather D. Martin; Joanne Bean; Kristin Palne; Lisa Coffey; '
Marietta W. Thompson; Myrna Delgado; Travis White
Subject: RE: On boarding pians

 I'd like to see onboarding plans for all of the new hires/new rbles in HR going back to anyone hired in May or later. Can
 I please get a draft by lune 22"d ? Attached are some sampies from IT and a mock up for HR.

 Thanks- Connie

 From: Myrna Delgado
 Sent: Friday, June 08, 2018 2:34 PM
 To: Connie Janowski
 Subject: RE: On boarding plans

 Hi Connie,
 I'd like to see some of the examples and then we can certainly share and discuss.
 Thank you.
 Myrna

 From: Connie Janowski
 Sent: Friday, June 08, 2018 9:55 AM
 To: Myrna Delgado; Marietta W. Thompson; Lisa Coffey
 Subject: On boarding plans

 i know a while back, T1 asked for on-boarding pians for ali of the new HR hires. If you need any help with them piease let
 me know.
 Trying to get ail of my leaders to do them too and some have done a nice job if you need any samples.
 I'd like to see them when they are ready because I think each one will add to our learning curve in how to do them.
 Thanks!

 Connie Janowski, SPHR
 HR Director, Corporate Services
 (502) 819-1755 cell
 (502) 214-5151 office

 Sent from my iPhone

 On Jun 8, 2018, at 10:29 AM, Myrna Delgado <MDeleado@eguian.com> wrote:

          I'd like to weicome Fawn to the Talent Acquisition team. She has a Master of Science in Human
          Resources Leadership. Fawn brings over 12 years of experience in Human Resources. Her HR
          experience has been primariiy in the Recruiting area but has also inciuded Generalist work.
          Her most recent position was with Charter Communications.
          She will be located in the Louisville office.

          Fawn wiil be attending orientation this coming Monday, June 11"'.

          Welcome Fawn!




                       18-CI-007383 12119J2018                 2 David L. iVicholson, Jefferson Circuit Clerk
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                                                     EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 52 of 81 PageID #: 57

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         <image001. jpg>

         Access Q. your Eq„uian Diaital Personai Assistant
          Myrna Deigado
          Tafent Acquisition Manager
          600 12t'' Street, Suite 300, Golden, CO 80401
          OfFice - (720)-903-7298
          Ceil — (720)-417-8568
          M Deipado0beguian.com

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   Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 53 of 81 PageID #: 58
Filed          18-CI-007353 12/1912018          David L. Nicholson, Jefferson Circuit Clerk




        EXHIBIT 448"




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Filed          18-CI-007353 12/1912018          David L. Nicholson, Jefferson Circuit Clerk

                                         EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 54 of 81 PageID #: 59
Filed                     18-CI-007353 12/19/2018                    David L. Nicholson, Jefferson Circuit Clerk


LI58< Coffey

From:                                Lisa Coffey                            :.....;,
Sent:                               ,,.T.,hursday; Jurie 28, 2018 8:37 AM
To:                                 `Connie Janowski
Subject:                             RE: Today


Ashley is also aware and has my cell,                                                                                  o
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                                                                                                                       0
From: Connie ]anowsld                                                                                                  LO
Sent: Thursday, June 28, 2018 8:33 AM                                                                                  o
To: Lisa CofPey                                                                                                        ~
Cc: Marietta W. Thompson; Travis White                                                                                 ~
Subject: Re: Today                                                                                                     ~
                                                                                                                       o.
How would you like walk in traffic handled since both of your other people are also out?

Connie lanowski, SPHR
HR Director, Corporate Services
(502) 819-1755 cell
(502) 214-5151 office

Sent from my iPhone

On Jun 28, 2018, at 8:30 AM, tis"a Coffey <LCoffey eauian.com> wrote:

          I will be working from home today waiting on the HVAC guy (been waiting a week) — the good news is
          the tree is gone and I just have a lot of debris to ciean up, fence is broke but it can be fixed. i didn't
           realize how hard the storm hit on the end of the street. It looks like a war zone.

           If you need anything, please do not hesitate to call my cell at 502-528-9206.



          <image001.png>

           Q is here! Access your Digitai Personal Assistant 24/7/365 for HR, Benefits and Payrol) questions.
           Lisa M. Coffey, Director, Benefits, Compensation & HR Shared Solutions
           9390 Bunsen Parkway, Louisville, KY 40220
           Work: 502.214.1533 / Fax: 800.424.6492
           equian.com
           EquianSecure


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        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 55 of 81 PageID #: 60
Filed                     18-Cl-007353 12119/2018                    David L. Nicholson, Jefferson Circuit Clerk

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Prom: Lisa Coffey                                                                                                                      o
Sent: Thursday, June 28, 2018 8:34 AM                                                                                                  ~
To: Connie Janowsia                                                                                                                    o
Cc: Marietta W. Thompson; Travis White                                                                                                 Q
Subject: RE: Today                                                                                                                     o
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                                                                                                                                       CD
I toid Travis I may be out today and he can have them cail my celi. They can aiso emafi me. if the HVAC person is here                 m
eariier than later, I would be in. The waik in traffic i have had aii week is for Prevention Cloud.                                    Q

from: Connie Janowski
Sent: Thursday, June 28, 2018 8:33 AM
To: Lisa Coffey
Cc: Marietta W. Thompson; Travis White
SubjecE: Re: Today

 How wouid you like waik in traffic handied since both of your other peopie are aiso out?                                              N
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 Connie lanowski, SPHR                                                                                                                 `°
 HR Director, Corporate Services                                                                                                       ~
 (502) 819-1755 ceii                                                                                                                   Q
 (502) 214-5151 office                                                                                                                 ~
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 Sent from my iPhone                                                                                                                   m
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 On !un 28, 2018, at 8:30 AM, Lisa Coffey <LCoffey@eguian.com> wrote:                                                                  _d
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          I will be working from home today waiting on the HVAC guy {been waiting a week} —the good news is                             '
          the tree is gone and I just have a lot of debris to ciean up, fence is broke but it can be fixed. I didn't .                  _
          reaiize how hard the storm hit on the end of the street. It looks like a war zone.                                            d
                                                                                                                                        o`.
           If you need anything, piease do not hesitate to call my ceii at 502-528-9206.



          <image001.png>

           Q is herel Access your Uigitai Personal Assistant 24/7/365 for HR, Benefits and Payroi) questions.
           Lisa M. Coffey, Director, Benefits, Compensation & HR Shared Solutions                                                          ;
           9390 Bunsen Parkway, Louisville, KY 40220                                                                                       0
           Work: 502.214.1533 / Fax: 800.424.6492                                                                                          0
           eQuian.com                                                                                                                      N
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                                                         EXHIBIT A
            Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 56 of 81 PageID #: 61
Filed                                                 18-C1-007353 12119l2018                                                     David L. Nicholson, JefPerson Circuit Clerk



Lisa Coffey

From:                                                                                  Lisa Coffey
Sent:                                                                                  Friday, June 29, 2018 4:05 PM
To:                                                                                    Lisa coffey (icoffeyjames@att.net)
Subject:                                                                               FW; Associate questions




                                                                                                                                                                            _
From: Lisa Coffey ;>,;:;:•:: >;::.;:,.:::>                                                                                                                                                                                                        r-
                                           :.:<....
Sente Friday; June 29;'2018 ~3:06 ;PM.:
To: JefP Martin                                                                                                                                                                                                                                   ~~
Subject: RE: Associate questions                                                                                                                                                                                                                  Y
                                                                                                                                                                                                                                                  U
                                                                                                                                                                                                                                                  ~

1eff:                                                                                                                                                                                                                                             a

I will fol{ow your advice and reach out to her. 1 really like working here and things are finally coming together in rny
Department. It hasn't been easy but I can see where we are going. 1 do appreciate your confidentiality in this matter.

Thank you and have a great weekend -

lisa                                                                                                                                                                                                                                              ~
                                                                                                                                                                                                                                                  ~
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From: Jeff Martin [mailto:ZmartinC&equian.com,]                                                                                                                                                                                                   N
Sent: Friday, June 29, 2018 3:00 PM                                                                                                                                                                                                               ~
To: Lisa Coffey                                                                                                                                                                                                                                   ~
Subject: RE: Associate questions                                                                                                                                                                                                                  W
                                                                                                                                                                                                                                                  z
This issue wi{i only work itself out if you and Connie can communicate with each other. Agree that Connie's email beiow                                                                                                                           m
wasn't very constructive. However, it is important to be able to receive constructive criticism ... we all have received it                                                                                                                       Z
 before and it's important to our deveiopment. I'd recommend going back to Connie and saying thanks for the heads up,                                                                                                                             _
 but would like to understand more about what she heard since you're not aware of the specific instances she's referring
                                                                                                                                                                                                                                                  ~
to.                                                                                                                                                                                                                                               ~_
                                                                                                                                                                                                                                                  S~
On the onboarding plans, I'd inquire as to what she's looking to accomp{ish with this. She may want to make sure all                                                                                                                               ~
new hires have a good training plan in place .to get them up to speed quickly. If Ce(este is at full potential now, then may                                                                                                                       a
not be necessary. Or you can provide her what is left to be done with her training. Not sure what Connie is looking for,
 so 1 think seeking to understand is okay.

 In the end, if you think Connie and you are not working well together, then you guys need to discuss. While we can't
 force a friendship, we should all at least respect and support each other from a team standpoint.

 I'II respect your confidence at this point and not approach Connie. Recommend you guys have a discussion and how                                                                                                                                  o
 you're are feeling.                                                                                                                                                                                                                               ~
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 _.      _...         ........ _. ...__.. _._..._. ......................... .. _.. ..._ ..          _......... _......_..._............._.._........... . .___.. __            ..,...
 From: Lisa Coffey f maiito:LCoffey@eauian.coml                                                                                                                                                                                                    o
 Sent: Friday, June 29, 201$1:42 PM                                                                                                                                                                                                                ~
 To: Jeff Martin <jmartin@equian.com>                                                                                                                                                                                                              ~
                                                                                                                                                                                                                                                   R
 Subject: FW: Associate questions                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                                       a


      Fi1ed                                                18-CI-007353 12119I2018                                              1 David L. Nicholson, Jefferson Circuit Clerk

                                                                                                                 EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 57 of 81 PageID #: 62
Filed                 18-C1-007353 12/19/2018                  David L. Nicholson, Jefferson Circuit Clerk

Jeff:                                                                                                             I.

I am forwarding you an email i received from Connie. As of 9:53 am, I spoke face to face with one employee about his
benefits. And, I spoke to Jen Mattingly for a while about the coaching calls being waived. I was not rude or short with
anyone. I have no idea what Connie is talking about. I did reply to 111 emaiis from the HR Mailbox and they are mostiy
about Prevention Cloud. There are a lot of emails complaining about the physicai and coaching calls. I have probabiy
responded to another 50 from my work email.

During our meeting last week, I told you about the onboarding plans she requested to the HR Business Partners for
anyone hired May to current. I said she would ask for Celeste's even though Celeste was hired in April. I was correct
and she wants it even though Celeste has been here 60 days. BasicaUy, I am having to go backwards and type up what I
have aiready trained Celeste on. You and I both agreed it was a bit much. There are severai other items but I don't want
to consume your time.

Connie is targeting me and I am not sure why. This treatment is really taking a lot of focus away from my job, effecting
my performance and basically making me sick to my stomach.

I am seeking your advice and trying my best to get through the day.

Thank you for your time,



Lisa




From: Connie Janowski
Sent: Friday, ]une 29, 2018 9:53 AM
To: Lisa Coffey
Cc: Connie Janowski
Subject: Associate questions

i have received 2 reports just this morning that you have been rude and short with associates who have questions about
 benefits and/or Prevention Cloud.
 Please make an immediate correction.

 Connie Janowski, / HR Director, lnterim CHRO
 9400 Bunsen Parkway / Louisville KY 40220
 P. 502.214.5151
 F. 800.424.6492
 equian.com




 Access Q. vour Eguian Digital Personai Assistant

 Foilot.v us on Glassdoor

 equian.com
                        18-CI-007353 1211912018              2 David L. Nicholson, Jefferson Circuit Clerk
  Filed
                                                     EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 58 of 81 PageID #: 63
Filed           18-CI-007353 12f19/2018         Qavid L. Nicholson, Jefferson Circuit Clerk
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Filed           18-CI-007353 12t1912018       3 Dav9d L. Nicholson, Jeffersan CircuPt Clerk

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    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 59 of 81 PageID #: 64
Filed           18-CI-007353 12/19/2018           David L. Nicholson, Jefferson Circuit Clerk




        EXHIBIT 449"




Filed            18-CI-007353 12/19/2018          David L. Nicholson, Jefferson Circuit Clerk

                                           EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 60 of 81 PageID #: 65
Filed                  18-C1=007353 12/1912018              David L. Nicholson, Jefferson Circuit Clerk


FedEx Office Center 1613

From:                            lisa Coffey <LCoffey@equian.com >
Sent:                            Friday, June 29, 2018 9:54 AM
To:                              Lisa coffey (Icoffeyjames@att.net)
Subject:                         FV11: Associate questions




                                                              .        _   _. . . . . _ . ..~. .   _...__ ._ _._...r._..._.. __. ..............~. ..
From: Lisa Coffey
Sent: Friday, June 29, 2018 9:54 AM
To: Connie Janowski
Sub,ject: RE: Associate questions

I have no idea what you are talking about. I just met with sorneone and spoke to Jen Mattingly. I have been working on
401k.


From: Connie Janowski
Sent: Friday, June 29, 2018 9:53 AM
To: Lisa Coffey
Cc: Connie Janowski
Subject: Associate questions

I have received 2 reports just this morning that you have been rude and short with associates who have questions about
benefits andJor Prevention Cloud.
Piease make an immediate correction.

Connie Janowski, / HR Director, Interim CHRO
9400 Bunsen Parkway / Louisville KY 40220
P. 502.214.5151
F. 800.424.6492
equian.com




 Access Q. your Eguian Dieitai Personai Assistant

 Folloua us an G{a.-isdoor

 equian.com
 EquianSecure




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 Filed                   18-Ci-007353 12/1912018           1 David L. Nicholson, Jefferson Circuit Clerk
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     Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 61 of 81 PageID #: 66
Filed                    18-Ct-007353 12119/2018                  David L. Nichoison, JefPerson Circuit Clerk


Marietta W. Thompson

From: -                             Marietta W. Thompson
Sent:                               Thursday, June 28, 2018 12:53 PM
To=                                 Connie Janowski
Subject:                            RE: Today


Yes,1 spoke with Ashley this morning about her call with Lisa. thanks                                           ~

From: Connie Janowski                                                                                           N
5ent: Thursday, June 28, 2018 8:41 AM            '                                                              a
To: Marietta W. Thompson                                                                                        o
Subject: Fwd: Today                                                                                             ~
                                                                                                                x
                                                                                                                ~
                                                                                                                ~
Is this ok with you7                                                                                            a

Connie lanowski, SPHR
HR Director, Corporate Services
(502) 819-175S ceil
(502) 214-5151 office

Sent from my iPhone

Begin forwarded message:

         From: Lisa Coffey <LCoffeyraeguian.com>
         Date: June 28, 2018 at 8:37:12 AM EDT
         To: Connie Janowski <CJanowskiCa7eguian.com>
         Subject: RE: Today

         Ashley is aiso aware and has my ceil.

         From: Connie Janowski
         Sent: Thursday, June 28, 2018 8:33 AM
         To: Lisa Coffey
         Cc: Marietta W. Thompson; Travis White
         Subject: Re: Today

         How would you like waik in traffic handled since both of your other people are also out7

           Connie Janowski, SPHR
           HR Director, Corporate Services
           (502) 819-1755 cel)
           (502) 214-5151 office                                                                                ~
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           Sent from my iPhone                                                                                  *6
                                                                                                                N
                                                                                                                t0
                                                                                                                O
                                                                                                                O
           On Jun 28, 2018, at 8:30 AM, Lisa Coffey <LCoffey@eguian.com> wrote:                                 o
                                                                                                                ~
                   i will be working from home today waiting on the HVAC guy (been waiting a week) — the        X
                   good news is the tree is gone and I just have a lot of debris to clean up, fence is broke    a

 Filed                   18-CI-007353 12/19l2018               1 David L. Nicholson, Jefferson Circuit Clerk
                                                        EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 62 of 81 PageID #: 67
Filed            18-CI-007353 12l19/2018                   David L. Nicholson, Jefferson Circuit Clerk

            but it can be fixed. { didn't reaiize how hard the storm hit on the end of the street. It
            looks like a war zone.

            If you need anything, please do not hesitate to cali my celi at 502-528-9206.


            <image001.png>

            Q is here! Access your Digital Personal Assistant 24/7/365 for HR, Benefits and Payroli
                                                                                                           N
            questions:                                                                                     o
            Lisa M. Coffey, Director, Benefits, Compensation & HR Shared Solutions                         o
            9390 Bunsen Parkway, Louisville, KY 40220                                                      M
            Work: 502.214.1533 / Fax: 800.424.6492                                                         0
                                     .                                                                     o
            equian.com                                                                                     o
            EquianSecure                                                                                   cn
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     Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 63 of 81 PageID #: 68
File~t                18-CI-007353 12/19/2018                 David L. Nicholson, Jefferson Circuit Clerk


FedEx Office Center 1613
From:                            Lisa Coffey <LCoffey@equian.com >
Sent:                            Friday, June 29, 2018 10:14 AM
To:                              Lisa coffey (Icoffeyjames@att.net)
Subject:                         FW: Today




From: Marietta W. Thompson
Sent: Thursday, June 28, 2018 9:00 AM
To: Usa Coffey; Travis White; CDnnie Janowski
Subject: RE: Today

Hey Lisa,

I will also check in with Ashley. Hope everything works out.. thanks, Marietta


From: Lisa Coffey
Sent: Thursday, June 28, 2018 8:45 AM
To: Travis White; Connie lanowskl
Cc: Marietta W. Thompson
Subject: RE: Today                                                                                          ~F'

                                                                                                            SA
I did let her know.


From: Travis White
Sent: Thursday, June 28, 2018 8:44 AM                                                                       O
                                                                                                            z
To: Lisa Coffey; Connie Janowski
Cc: Marietta W. Thompson
Subject: RE: Today
                                                                                                            0

I will let Ashley know as well because I have a few appointments on the calendar.




Travis White, HR Manager
9390 Bunsen Parkway, Louisville, KY 40220
Office: 502-214-1498
equian.com
                                                                                                            N




 Access 0, your Egulan Digital Personal Assistant

Filed                 18-CI-007353 1211912018               1 David L. Nicholson, Jefferson Circuit Clerk

                                                    EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 64 of 81 PageID #: 69
Fiied           18-C1-007353 12/19/201$          David L. Nicholson, Jefferson Circuit Clerk




        EXHIBIT "10"




Filed           18-CI-007353 12/19/2018         David L. Nicholson, Jefferson Circuit Clerk

                                          EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 65 of 81 PageID #: 70
 Filed                    18-CI-407353 12719t2018                      David L. Nicholson, Jefferson Circuit Clerk


FedEx Office Center 1613

From:                                Lisa Coffey <LCoffey@equian.com>
Sent:                                Tuesday, July 3, 2018 2:49 PM
To:                                  Lisa coffey (tcoffeyjames@att.net)
Subject:                             FW: PTO




From: Connie Janowski
Sent: Tuesday, 7uly 03, 2018 2:42 PM
To: Lisa Coffey                                                    ~
Subject: Re: PTO

Ok thanks for the overview. That shouid be flne then. Appreciate the update

Connie lanowski, SPHR
Hit Director, Corporate Services
(502) 819-1755 cell
(502) 214-5151 office

Sent from my iPhone

On Jul 3, 2018, at 2:12 PM, Lisa Coffey <LCoffev@eauian.com> wrote:

          Connie:

           The dates i am thinking are the 201h, 231and possibly the 24th Neither Celeste, nor Liz are out of the
           office on any those three dates. i am not sure what "fully prepared back up this time please" means. if
           you are referring to me working from home Thursday, i had a Fl tornado take down and huge tree and
           my HVAC went out. I worked the entire day and all associates were taken care of via phone or email?
           When i started at Equian, TJ said "this is how this works — you tell me what you need". He was referring
           to time off or working frorn home.

           As for Woburn, their open enrollment starts the 17"' and goes to August 11. Joanne will be meeting with
           employees on the 16" and 17' and she will be conducting those on her own.

           I am not positive if I am going to take PTO as the airfare will increase the longer I wait.
           if you wouid like to speak to me about any of this, please give me a call. Sometimes, I think emails get
           lost in translation and the best way is to simpiy have a conversation. I know you are out of the office. tf
           you are on PTO, I do not want to interrupt you.

           Thank you,
           Lisa


           From: Connie 7anowski
           Sent: Monday, July 02, 2018 4:20 PM
           To: L1sa Coffey
           Subjec#: Re: PTO



Fiied                   18-C1-007353 1211912018                  1 David L. Nicholson, Jefferson Circuit Clerk
                                                         EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 66 of 81 PageID #: 71
Filed                    18-CI-007353 12/19/2018               David L. Nicholson, Jefferson Circuit Clerk
        I want to ensure you have a fulty prepared back up this time please. Who etse is out those dates? Are
        we doing anything for Woburn on those dates?

        Connie Janowski, SPHR
        HR Director, Corporate Services
        (502) 819-1755 cell
        (502) 214-5151 office

        Sent from my iPhone                                                       ~

        On Ju12, 2018, at 3:50 PM, Lisa Coffey <LCoffev@eauian.com > wrote:

                Connie

                I am thinking about taking time off - possible dates are 20n ' 24ra Do you see any
                issues with this? I have not booked anything and wanted to check with you first.


                <image001.png>

                Q is herel Access your Digital Personai Assistant 24/7/365 for HR, Benefits and Payroll
                questions.
                Lisa M. Coffey, Director, Benefits, Compensation & HR Shared Solutions
                9390 Bunsen Parkway, Louisville, KY 40220
                Work: 502.214.1533 / Fax: 800.424.6492
                ecLuian.com
                EquianSecure




* * * * This communication may contain privileged and/or confidential information. If you are not the intended
recipient, you are hereby notified that disclosing, copying, or distributing of the contents is strictly prohibited. If
you have received this message in error, please eontact the sender immediately and destroy any copies of this
document. * * * *




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                                                    EXHIBIT A
    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 67 of 81 PageID #: 72
Filed           18-C I-007353 12/1912018         David L. Nicholsan, Jeffersan Circuit Clerk




        EXHIBIT 6"11"




Filed           18-Cl-007353 12119f2018           David L. Nicholson, Jefferson Circuit Clerk

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        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 68 of 81 PageID #: 73
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                         Travis N Mori'sso W - ite                           *-We

                         July 5 - 96A
                couldnfthave been more shockedif I walked
               into; a room full of billy goats,,..




                          .                                                 it Clerk
                                                                         Ciqcu
  Filed          =8-Cl-007        2/191201          Dal4tDAlicholsoirson
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        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 69 of 81 PageID #: 74
Fiied                   ~ 18-Cl-007353 1211912018                                                                       Dauid L. Nicholsan, Je#Person Circuit Clerk
                                                             Travis N Merissa's Post                                                                                                                  *••
             ...                         _. ..         ~. ,~..~... ~..r~..,_.~,.. .,~,,,. ~,_, s_._~..,v,.: w.•.~.....,~,,..~ .~;~ ~.,~ .._ .. _


                                                       inf luence and inspiration in our
                                                       lives! And Merissa iooiCed
                                                       stunningly beautiful!
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                                                       Happy Anniversaryi                                                                                                                                                     a
                                                       9w Like Reply 01.


               to                                      Fay woodlee
                                                       Happy Anniversary!
                                                       9w Like Reply 01. .

                                                       Connie Jan'owski
                                                       So b#essed to be included.
                                                       Thank you and it's wondorful
                                                       to watch what God is doing in
                                                       your iives and in your marriage
                                                       v
                                                       9w Like Rep(y                                                                                                                                                              a
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                                  Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 70 of 81 PageID #: 75


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     Package : 000073 of 000082               Presiding Judge: HON, BRIAN EDWARDS (630312)   Package:000073 of 000082
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 71 of 81 PageID #: 76
Filed




                         Travis N'Msrissa White Is with
                         Connie. Janowski and 13 othersd
                          JulyI 1A -2017 , U

               We wantto, thank everyo-ne who was able. to
               come and. make Nina's birthday week-end
               spectal. She truly ltoves be-ing- surrounded by
               friends and family -and thi's w- eekend, s-he was
               With botft, Thank,you all for mak'lng'lt special.
               As aparent, we couldn't ask. for better people
               to have in her life and: ours.




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                                         EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 72 of 81 PageID #: 77

Fiiod




                             ` Connie Jariowski chackad in t4                                                                                              ,.,

                               The Waverty iHills Sanatorium
                               with Travis lV hllerissa White and
                               Casey Jorrdan,
                                    Jurse 2, 2017 • Louisville, KY • ~

               Ready fvr our haunted tour!




                                          LANDMARK & HISTORICAL PLACE ~

               ~                          The Waverly Hilis Sanatorium


               O;~ You and 8 others 1 Comment 1 Share

                         li Like                                        Q Comment p;> Share
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    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 73 of 81 PageID #: 78
Fited           18-Cl-007353 1211 912018          David L. Nicholson, Jefferson Circuit Clerk




        EXHIB IT " 12"




Filed           18-CI-007353 121191201.8         David L. Nicholson, Jefferson Circuit Cierk

                                           EXHIBIT A
           Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 74 of 81 PageID #: 79
  Filed                         18-Ci-007353 12/1912018                           David L. Nichotson, Jefferson Circuit Ctertc

EEOC Form 161 (11/16)                     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Lisa Coffey                                                                   From: Louisviile Area Office
       423 Wisteria Avenue                                                                    600 Dr Martin Luther King Jr Pi
       Louisviiie, KY 40222                                                                   Suite 268
                                                                                              Louisvilie, KY 40202


       Q                    On behaff of person(s) aggrieved whose identity is
                            CONFIDEIUTIAL (29 CFR § 1601.7(a)
                                                                                                                                                 N
                                                                                                                                                 o
                                                                                                                                                 0
EEOC Charge No.                                 EEOC Representative                                                  Telephone No,               ~
                                                                                                                                                 w

                                                Richard T. Burgamy,                                                                              n
474-2018-01181                                  Area Office Director                                                 (502) 582-6744              0
                                                                                                                                                 0

THE EEOC iS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:                                                                            ~
       o          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.                          ~
                                                                                                                                                 ro
                                                                                                                                                 a
       o          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

       E-1        The Respondent employs less than the required number of employees or is not othenuise covered by the statutes.

       Q          Your.. charge was not timeEy filed with EEOC; in other words, you waited too long after the date(s) of the alieged
                  discrimination to file your charge
            I     The EEOC issues the following determination: Based up.on its investigation, the EEOC is unabte to conclude that the
                  information obtained establishes'violations of the statutes. This does not certify that the respondent is in compliance with   N
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.          M
                                                                                                                                                 CD
       F-I        The EEOC has adopted the findings of the state or local fair employment practices agency that inVestigated this charge.        m
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                                                                                                                                                 0
       Q          Other (brrefly state)                                                                                                          Q
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                                                         - NOTlCE OF SUIT RIGHTS -                                                               4
                                                   (See the additional information attached to this form)                                        w~
                                                                                                                                                 z
Title VIi, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age                                        =
Discrimination in Empioyment Act: This wiN be the.only notice of dismissal and of your right to sue that we will send you.                       ;;
You may file a lawsuit against the respondent(s) under federal law based on this charge in federai or state court. Your                          3
lawsuit must be fiied WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be                           ~
1ost. (The time limit for filing suit based on a claim under state (aw may be different.)                                                        c
                                                                                                                                                     N
                                                                                                                                                     N

Equai Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years forwillh.tl violations) of the                    °
alleged EPA underpayment. This means that backpay due for any vioiations that occurred more than 2 vears 0 yearsl
before you file suit may not be collectible.

                                                                     On behalf of the Commission

                                                                                                                            SEP 19 2018
 Enclosures(s)                                                                                                              (Data Malled)            N
                                                                 Richard T.13 r9 am~/,
                                                                                  ,
                                                                 Area Offid-6 Director                                                               o
                          .                                                                                                                          o
 `o'            Connie Janowski                                                                                                                      o
                Human Resources Director                                                                                                             ;
                EQUTAN                                                                                                                               o
                                                                                                                                                     0
                9390 Bunsen Parkway                                                                                                                  ~
                Louisviiile, KY 40220
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      Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 75 of 81 PageID #: 80
     ~                      18-CI-007353 12/19/2018                        David L. Nicholson, Jefferson Circuit Clerk
Ft~nclosurew(th EEQC
   Form 161 (11f18)

                                             INFORMATION RELATED TO FtLING SiUtT
                                           UNDER THE LAWS ENFORCED BY THE EEOC

                                (Thls infomrafion relates to riling suit in Federal or State court under Federal law
                       tf you also plan to sue claiming viola{ions of State law, please be aware that time lJmits and other
                              provisions of State law may be shorter or more limited than those described be/ow)


                                   __    Titie VIl of the Civil Rights Act, the Americans whh Disabilities Act (ADA),
  PRIVATE SUIT RIGHTS
                                         the Genetic Information Nondiscrimination Act (GfNA), or the Age
                                         Discrimination in Employment Act (ADEA):                                                co
                                                                                                                                 0
                                                                                                                                 0
  In order to pursue this matter further, you must fiie a lawsuit against the respondent(s) named in the charge within           ~
  90 da s of the date you receive this Notice. Therefore, you shouid keep a record of this date. Once this 90-                   °
  day period is over, your right to sue based on the charge referred to in this Notice wiA be lost. If you intend to             0
  consult an attorney, you shouid do so promptly. Give your attorney a copy of this Notice, and its enveiope, and tell           o
  him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
  manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as                     ~
  indicated where the Notice is signed) or the date of the postmark, if later.                                                   a
   Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
   State court is the general civil trial court.) Whether you file in Federai or State court is a matter for you to decide
   after talking to your attorney. Filing this Notice is not.enough. You must fife a"comptaint" that contains a short
   statement of the facts of your case which shows that you are entitled to reiief. Courts often require that a copy of
   your charge must be attached to the complaint you file i' n court. If so, you should remove your birth date from the
   charge. Some courts wiit not accept your complaint where the charge includes a date of birth. Your suit may include
   any matter aiieged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
   aileged in the charge. Generaliy, suits are brought in the State where the aileged unlawful practice occurred, but in
   some cases can be brought where reievant empioyment records are kept, where the empioyment would have                          ^
   been, or vvhere the respondent has its main office. If you have simpie questions, you usuaily can get answers from .           M
   the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint        e
   or make legal strategy decisions for you.                                                                                      o
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   PRIVATE SUIT RIGHTS              --   Equal Pay Act (EPA):                                                                     ~
                                                                                                                                  n
                                                                                                                                  w.
                                                                                                                                  z
   EPA suits must be filed in court within 2 years (3 years for wiliful vioiations) of the aAeged EPA underpayment: back          d
   pay due for violations that occurred more than 2 years (3 vears) before you file suit may not be coliectibie. For              m
   example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you shouid file suit                   z
   before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for Ju1y 2008. This time limit for fiiing an EPA           =
   suit is separate from the 90-day fiiing period under Titie VII, the ADA, GINA or the.ADEA referred to above.                   m
   Therefore, if you aiso plan to sue underTitle Vil, the ADA, GIIVA or the ADEA, in addition to suing on the EPA                 ~
   ciaim, suit must be fiied within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.              ~
                                                                                                                                  ~
   ATTORNEY REPRESENTATION                  -- Title Vil, the ADA or GINA:                                                            d
                                                                                                                                      n.
   If you cannot afford or have been unabie to obtain a iawyer to represent you, the U.S. District Court having jurisdiction
   in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
   made to the U.S. District Court in the form and manner it requires (you shouid be prepared to expiain in detail your
  ' efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
   because such requests do not relieve you of the requirement to bring suit within 90 days.

   ATTORNEY REFERRAL AND EEOC ASSISTANCE -- AII Statutes:                                                                             N
                                                                                                                                      w
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   You may contact the EEOC representative shown on your Notice if you need heip in finding a lawyer or if you have any               o
   questions about your iegal rights, including advice on which U.S. District Court can hear your case. if you need to                0
   inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide            o
   your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, aii charge files              a
   are kept for at teast 6 months after our last action on the case. Therefore, if you fiie suit and want to review the charge        ~
   file, piease make your review request within 6 months of this Notice. (Before filing suit, any request shouid be                   ~
    made within the next 90 days.)                                                                                                     m
                                                                                                                                       a
                       !F YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPlAINT TO THIS ~jFF1CF.
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    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 76 of 81 PageID #: 81
Filed           18-CI-007353 12/1912018          David L. Nicholson, Jefferson Circuit Clerk




        EXHIBIT 4413"




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            Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 77 of 81 PageID #: 82
    Filed                      18-CI-007353 12/19/2018.               David L. Nicholson, Jefferson Gircuit Clerk


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              E                I'As

                                                             August 17, 2018



            Lisa Coffey                                                                                                    ~
            423 Wisteria Avenue                                                                                            ;
            Louisville, KY, 40222                                                                                          0
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                                                                                                                           eo
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                    Re: Empioyment Term ination/Severa nce/ Rel ease Information                                           a
                                                         .                                                                 a
                                                                                                                            ~
            Dear Lisa:                                                                                                     ~~
                                                                                                                           ~
                                                                                                                           a
                    Please be advised that your employment with Equian, LLC or its afPiliated entities
            (collectively "Equian") is hereby terminated effective as of August 17, 2018, due to an employment
            terminatton program ("Program") applicable to certain Equian business groups. Severance pay,
            determined based upon the Program or an amount set by applicable employment or severance
            agreement, whichever is greater, will be provided to eligible employees who voluntarily sign an
            agreement that releases Equian and its affiliates from any claims relating to their employment or
            termination.                                              '                                                    N
                                                                                                                           P
                    Based upon your years of service with Equian and your base pay, your severance pay equals              M
            a total amount of $5,192.31. Severance payments wil) be made in a lump sum once the release                    ~
             becomes effective, and generally seven (7) days after it is signed. The general release is attached.          Q
             We advise you to review this document with an attorney before signing: Your final pay check,                  a
             including accrued but unearned PTO, will be issued pursuant to the company's pay schedule and -               z
             sent separately, unless otherwise required by applicable law.                                                 d
                                                                                                                           a
                                                                                                                           m
                    Any future rehire wili impact the severance payment by a pro-rata adjustment to such                   :i
             payment in direct correlation to the number of weeks remaining in the severance period upon the               =
             rehire date. For example, if the severance period is ten (10) weeks and you are rehired five (5)              ;
             weeks after the effective date of your termination, you must return (or not receive) one-half of the          ~
                                                                                                                           ~
             Severance Payment to finalize rehire status, subject to a minimum consideration amount as set                 ;
             forth in the general release.                                                                                  ~
                                                                                                                           a.
                  Equian will also make available to you a service program of professional level career
             management services through at RightChoice, an outcome-based outplacement solution for
             professionals. You will be provided separately with materials outlining what they provide and how
             to initiate the service. If you elect to use the RightChoice services, it is your responsibility to contact
             them directiy. By making outplacement services available to you, the Company expressly disclaims
             any guarantees of employment or offers of employment as a result of utilizing these services.
                                                                                                                            N
                                                                                                                            to
                    If you are enrolled in Equian's group health, vision and/or dental insurance, please be                 a
             advised that your coverage will end on the last day of the month that your employment terminates..             o
             If you wish to continue your insurance coverage, you may do so through COBRA. You will receive                 o
             information regarding your rights under COBRA for insurance continuation in a separate letter frorn            a
             Equian's COBRA administrator, BusinesSolver.
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    Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 78 of 81 PageID #: 83
Fiied                   18-Ct-007353 12/19/2018                  David L. Nicholson, Jeffersori Circuit Cierk




         Action needed: Complete the 2017 audit and compiiance testing of the Equian 401(k) plan, any required
         adjustments/reconciliations, and communication to affected employees, and finally provide a report to
         the 401(k) Steering Committee. Provide ongoing updates to the Steering Committee regarding
         migration to One.America.

         Collaboration: As an HR Director, Lisa needs to demonstrate proactive communication with her peers,           ~
         particularly the HR Business Partners and the Corporate Controller. Lisa's tendency is to work                q
         independently of her peers and to disregard their input. One example is in the Job Description project        o
         where Lisa disregarded peer input regarding how the information would be gathered,.organized, and
         managed electronically.                                                                                       g
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         Action needed: Demonstrate proactive communication/collaboration with HR Directors and                        YU
         demonstrate cooperation in the use of their input/recommendations.                                            a

         HR systems: Lisa's role is intended to provide leadership of the HR technology strategy. In this capacity,
         Lisa must demonstrate expertise with HR's systems, particularly the Paylocity system. Lisa must partner
         with Finance to lead the discussion about how to optimize the configuration of Paylocity for data
         collection, reporting, and analytics. Although Paylocity has offered to bring an expert resource on site to
         assist the Equian team members in a review of system configuration, Lisa has not followed through on
         scheduling, pianning, or communication of that event.

         Action needed: Lisa must demonstrate a solid knowledge of Paylocity's capabilities, and conhguration
         requirernents. She must engage the Paylocity team with Equian HR and Payroll for an on-site review and
         system adjustments toward optimized use of the system, and irnproved reporting/anaiytics capabifities.

         Staff development: Lisa has four direct reports, inciuding one team member who is new to Equian. It is
         not apparent that her newest team member has a development pian or is receiving frequent, helpful
         coaching. One of Equian's leader competencies — Peopie, requires the following behaviors:
             • Provides constructive, timely coaching and feedback to others
             • Consistently creates opporturiities for team members to stretch and develop themselves
             • Actively listens to what.others are saying, probes for information to ensure clarity and
                 understanding
             •   Fosters positive moraie and engagement byrecognizing and rewarding team efforts and results
             •   Communicates in a concise, compeiling, and coliaborative manner

         Action needed: First and foremost, Lisa must demonstrate that each team member, particularly her
         newest associate, has an individual development plan and receives frequent coaching, recognition, and
         encouragement.




 Fiied                   18-CI-007353 12/19/2018                   David L. Nicholson, Jefferson Circuit Clerk

                                                       EXHIBIT A
        Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 79 of 81 PageID #: 84

Filed                   18-CI-007353 12/1912018                 David L. Nichofson, Jefferson Circuit Clerk




                  If you are enrolled in the Basic Life and AD & D plan offered to you by Equian, upon
          termination you have the option of converting this plan to an individual pian and pay the premiums
          for this new plan. Also, if you or your dependents are enrolied in the Supplemental Life or
          Dependent Life Plans offered through Equian, you have the option to cont'inue these plans through
          the portability option in your coverage and pay the premiurns directly to the carrier. These
          enrollment forms have been enclosed.

                  If you participate in the Equian 401(k) Retirement Plan, please contact Sean Miranda,
          Hilliard Lyons at 502-326-1489 concerning your vested benefits, if any. Please be advised that if you
          have a vested 401(k) balance of $5,000 or less on the date of your termination you have sixty (60)
          days to elect a cash payment or a direct rollover to an eligible IRA. If no decisidn is made after sixty
          (60) days, the vested balance wilt automatically be determined to be a cash payment:
                                                          Respectfully,



                                                         M        M   ,
                                                                             ~

                                                          Connie Janowski, HR Director




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       Case 3:19-cv-00043-RGJ Document 1-1 Filed 01/16/19 Page 80 of 81 PageID #: 85



David L. Nicholson, Jefferson Circuit Clerk
600 West Jefferson Street
Louisville, KY 40202-4731




                                         CORPORATION SERVICE COMPANY
                                         421 WEST MAIN STREET
                                         FRANKFORT, KY 40601




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